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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


                                   )
CONNOR B., by his next friend,     )
Rochelle Vigurs, ADAM S., by his   )
next friend, Denise Sullivan,      )
CAMILA R., by her next friend,     )
Bryan Clauson, ANDRE S., by his    )
next friend, Julia Pearson, SETH   )
T., by his next friend, Susan      )
Kramer, and RAKEEM D., by his next )
friend, Bryan Clauson,             )
individually and on behalf of all  )
others similarly situated,         )         CIVIL ACTION
                                   )         NO. 10-30073-WGY
                     Plaintiffs,   )
                                   )
               v.                  )
                                   )
DEVAL L. PATRICK, Governor of      )
the Commonwealth of Massachusetts, )
JOHN POLANOWICZ, Secretary of the )
Massachusetts Executive Office of )
Health and Human Services, and     )
OLGA I. ROCHE, Acting Commissioner )
of the Massachusetts Department of )
Children and Families, in their    )
official capacities,               )
                                   )
                     Defendants.   )
                                   )


                        FINDINGS AND RULINGS

YOUNG, D.J.                                          November 22, 2013


I.   INTRODUCTION

     Anonymized minors acting on behalf of a class of

approximately 8500 children (collectively, the “Plaintiffs”)

who, after being removed from their family homes due to abuse or


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neglect, have suffered harm or are exposed to harm1 in the

custody of the Massachusetts Department of Children and Families

(“DCF” or the “Department”), bring this suit under 42 U.S.C.

section 1983 against high-level officials in the Commonwealth’s

administrative bureaucracy (collectively, the “Defendants”) for

allegedly circumscribing the myriad constitutional and statutory

rights of the class members.     Specifically, the Plaintiffs

contend that the Defendants violated (1) class members’ right to

substantive due process; (2) class members’ constitutionally

guaranteed liberty, privacy, and associational interests,

particularly the right to familial association; (3) certain

provisions of the Adoption Assistance and Child Welfare Act of

1980 (“AACWA”), 42 U.S.C. §§ 670-676, specifically those

pertaining to foster care maintenance payments and

individualized case plans; and (4) class members’ right to

procedural due process.    The sheer number and breadth of

allegations raised by the Plaintiffs in this case effectively

amount to an all-out assault on the Massachusetts foster care

system, in which the Plaintiffs request all manner of

declaratory and injunctive relief.      The Defendants, for their

part, have moved for judgment on the record.




     1
       August 15, 2012, was set as the fact cutoff date for
liability purposes. Elec. Order, May 17, 2012.

                                   2
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     A.     Procedural Posture2

     On April 15, 2010, lead plaintiffs Connor B.,3 Adam S.,

Camila R., Andre S., Seth T., and Rakeem D. (collectively, the

“Named Plaintiffs”), by their next friends and on behalf of all

others similarly situated, filed a complaint in this district

against Massachusetts Governor Deval Patrick and the heads of

the Massachusetts Executive Office of Health & Human Services

and DCF.   Compl., ECF No. 1.     That same day, the Plaintiffs

filed a motion to certify a class and appoint class counsel.

Pls.’ Mot. Class Certification & Appointment Class Counsel, ECF

No. 2.    The Defendants moved to dismiss the complaint on August

20, 2010, Mot. Hon. Deval L. Patrick Dismiss Compl. Against Him

Pursuant Fed. R. Civ. P. 12(b)(1) & 12(b)(6), ECF No. 17; Defs.’

Mot. Dismiss Compl. Pursuant Fed. R. Civ. P. 12(b)(1) &

12(b)(6), ECF No. 18, and subsequently filed an opposition to

the Plaintiffs’ motion for class certification, Defs.’ Opp’n

Pls.’ Mot. Class Certification, ECF No. 32.

     2
       Children’s Rights, one of the Plaintiffs’ counsel in this
matter, have secured settlements with over a dozen other states
in similar foster care management disputes. See Susan Ferriss,
Class-Action Suit Challenges Massachusetts Foster Care System,
Center for Pub. Integrity (Jan. 23, 2013, 6:00 AM), http://www.
publicintegrity.org/2013/01/23/12062/class-action-suit-
challenges-massachusetts-foster-care-system. Massachusetts is
the first to take up the gauntlet and accept the Plaintiffs’
challenge in court. Id.
     3
       Pursuant to Local Rule 5.3(a), pseudonyms have been used
to protect the identities of the children who are parties to
this class action.

                                    3
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     Following additional filings by both parties, Judge Michael

Ponsor issued a memorandum and order on January 4, 2011, denying

the Defendants’ motions to dismiss and leaving for later

resolution the Plaintiffs’ motion for class certification.

Connor B. ex rel. Vigurs v. Patrick, 771 F. Supp. 2d 142 (D.

Mass. 2011) (Ponsor, J.).     Nearly two months later, Judge Ponsor

revisited the remaining motion, granting the Plaintiffs class

certification and referring the case to Magistrate Judge Kenneth

Neiman for further adjudication.4      Mem. & Order Regarding Pls.’

Mot. Certify Class & Appoint Class Counsel, ECF No. 49; Elec.

Order, Feb. 28, 2011.    The case was eventually reassigned to

this Court on November 19, 2012.       Elec. Notice, Nov. 19, 2012,

ECF No. 203.

     On December 3, 2012, the Defendants moved for partial

summary judgment on the Plaintiffs’ substantive due process

count and for full summary judgment on all of the remaining

counts in the Plaintiffs’ complaint.      Defs.’ Mot. Partial Summ.

J., ECF No. 209.   At a motion hearing held on January 10, 2013,

the Court denied the Defendants’ motion as matter of judicial

economy.   Elec. Clerk’s Notes, Jan. 10, 2013, ECF No. 272.            The

case proceeded to trial on January 22, 2013.        Elec. Clerk’s

Notes, Jan. 22, 2013, ECF No. 291.

     4
       The Defendants’ attempt to decertify the newly constituted
class proved equally futile. See Connor B. ex rel. Vigurs v.
Patrick, 278 F.R.D. 30 (D. Mass. 2011) (Ponsor, J.).

                                   4
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     On April 30, 2013, following the close of the Plaintiffs’

case-in-chief, the Defendants filed a motion for judgment on the

record and appended to their motion a memorandum of law in

support.    Defs.’ Mot. J. R., ECF No. 316; Mem. Law Supp. Defs.’

Mot. J. R. (“Defs.’ Mem.”), ECF No. 317.       The Plaintiffs

submitted a brief in opposition to the Defendants’ motion on May

16, 2013.   Pls.’ Mem. Law Opp’n Defs.’ Mot. J. R. (“Pls.’

Opp’n”), ECF No. 356.    The motion was heard on May 21, 2013, but

the Court declined to rule on it at the hearing, deciding

instead to take the matter under advisement and adjourn the case

without day.    Mot. Hr’g Tr. 37:17-18, May 21, 2013, ECF No. 364.

     B.     Child Welfare Regulatory Framework

     Under Title IV-E of the Social Security Act,5 42 U.S.C.

§§ 670-676, the Children’s Bureau of the Administration for

Children and Families (“ACF”), which sits within the U.S.

Department of Health & Human Services (“HHS”), allots federal

funds to states to assist in their provision of foster care

services.   See Title IV-E Foster Care, Children’s Bureau (May

17, 2012), http://www.acf.hhs.gov/programs/cb/resource/title-

ive-foster-care.   In order to qualify for Title VI-E funds,

state foster care agencies must meet a long list of federal

requirements.   See 42 U.S.C. § 671(a).

     5
       Title IV-E is also known as the Adoption Assistance and
Child Welfare Act of 1980. Henry A. v. Willden, 678 F.3d 991,
1007 n.9 (9th Cir. 2012).

                                   5
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     The receipt of said funds is additionally conditioned upon

participation in and the successful completion of Child and

Family Services Reviews (“CFSRs”).      Trial Ex. 808, Children’s

Bureau Child & Family Servs. Reviews Fact Sheet (“CFSR

Overview”) 1.   HHS has established seven outcome measures spread

across three categories to grade a state agency’s performance:

     (1) A title IV–E agency’s substantial conformity will
     be determined by its ability to substantially achieve
     the following child and family service outcomes:

     (i) In the area of child safety:

          (A) Children are, first and foremost, protected
          from abuse and neglect; and,
          (B) Children are safely maintained in their own
          homes whenever possible and appropriate;

     (ii) In the area of permanency for children:

          (A) Children have permanency and stability in
          their living situations; and
          (B) The continuity of family relationships and
          connections is preserved for children; and

     (iii) In the area of child and family well-being:

          (A) Families have enhanced capacity to provide
          for their children’s needs;
          (B) Children receive appropriate services to meet
          their educational needs; and
          (C) Children receive adequate services to meet
          their physical and mental health needs.

45 C.F.R. § 1355.34(b)(1).     In addition to these seven outcome

measures, HHS has adopted six statewide data indicators to

assist in determinations of whether a state is in substantial

conformity with Title IV-E: (1) the recurrence of maltreatment;



                                   6
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(2) the incidence of child abuse and/or neglect in foster care;6

(3) the number of re-entries into the foster care system; (4)

the length of time to achieve reunification; (5) the length of

time to achieve adoption; and (6) the stability of foster care

placement.7   See Title IV-E Foster Care Eligibility Reviews and

Child and Family Services State Plan Reviews, 65 Fed. Reg. 4020,

4024 (Jan. 25, 2000) (codified at 45 C.F.R. pts. 1355-1357); see

also Admin. Children & Families, U.S. Dep’t Health & Human

Servs., Background Paper: Child and Family Services Reviews

National Standards 1 (2012), available at http://www.acf.hhs.

gov/sites/default/files/cb/cfsr_background_paper.pdf.

     States that fail to meet the requirements of a CFSR must

draft and implement a Program Improvement Plan (“PIP”) that

establishes performance improvement goals in the areas in which

the states are not in substantial conformity with federal

standards.    See CFSR Overview 2.       There is great incentive to


     6
       This indicator has since changed to refer to the absence
of maltreatment of children in foster care. See infra Part
II.A.
     7
       The first two statewide indicators pertain to the first
safety outcome –- namely, that “[c]hildren are, first and
foremost, protected from abuse and neglect,” 45 C.F.R. §
1355.34(b)(1)(i)(A) -- whereas the last four statewide data
indicators pertain to the first permanency outcome -- namely,
that “[c]hildren have permanency and stability in their living
situations,” 45 C.F.R. § 1355.34(b)(1)(ii)(A). See Title IV-E
Foster Care Eligibility Reviews and Child and Family Services
State Plan Reviews, 65 Fed. Reg. 4020, 4024 (Jan. 25, 2000)
(codified at 45 C.F.R. pts. 1355-1357).

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keep pace with the goals set forth in the PIPs, as states that

fail to do so are assessed penalties as punishment for their

noncompliance.   See id.

     C.   Child Welfare Standards

     National child welfare standards established by the Council

on Accreditation (“COA”) and the Child Welfare League of America

(“CWLA”) provide the normative backdrop against which DCF’s

challenged practices and policies must be cast.8

     COA is an accrediting organization that performs research

on best practices in child welfare and sets professional

standards for child welfare agencies.       See Trial Tr. vol. 11,

33:5-9, 33:23-34:1, Feb. 28, 2013, ECF No. 335.        COA standards

are derived both from the opinions of independent panels

(comprised of experts drawn from across the social services

spectrum) and from the relevant academic literature.         Rule

30(b)(6) Dep. Council Accreditation, Richard Klarberg 37:19-20,

41:20-42:4, Aug. 9, 2012, ECF No. 226-1.       Standards that have

been transcribed in draft form are then disseminated for comment

to individuals who have expertise in the applicable field.             Id.

     8
       Admittedly, neither COA nor CWLA standards impose upon
child welfare agencies obligations that have the force of law.
See Trial Tr. vol. 19, 73:20-75:18, 87:12-25, May 7, 2013, ECF
No. 347 (noting that COA and CWLA standards are intended to be
viewed aspirationally). Nevertheless, given the standards’
widespread usage, this Court elevates them as reflective of the
bar to which child welfare agencies are generally expected to
measure up.



                                   8
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at 41:14-19, 46:17-22.    The comments received are customarily

incorporated into existing standard statements and reviewed

again by the independent panelists, id. at 47:7-12, making the

process of COA standard-setting rather iterative and dynamic.

     CWLA is a public, non-profit agency that, like COA,

conducts best-practices research and sets industry standards for

child welfare services.    Trial Tr. vol. 11, 33:15-21.       CWLA

standards are set by a process similar to the one used for the

development of COA standards.     Rule 30(b)(6) Dep. Child Welfare

League Am., Linda Spears 77:12-78-24, Aug. 14, 2012, ECF No.

226-1.

     D.   Expert Witness Testimony

     Over the course of the bench trial, seven expert witnesses

(all for the plaintiff) were called to the stand to testify.

The Court takes the time here to provide a brief biography of

the witnesses and explain their particular relevance or

contribution to the matter under review.

          1.    Named Plaintiff Case File Review

     Dr. Lenette Azzi-Lessing (“Dr. Azzi-Lessing”) is a tenured

associate professor of social work at Wheelock College, located

in Boston, Massachusetts.     Trial Tr. vol. 3, 103:3-18, Jan. 25,

2013, ECF No. 327.    Dr. Azzi-Lessing conducted a review of five

of the Named Plaintiffs’ DCF case files, which date from the

children’s entry into the foster care system through early 2012.


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Trial Tr. vol. 6, 76:5-7, 79:3-10, Feb. 4, 2013, ECF No. 330.

The aim of Dr. Azzi-Lessing’s case file review was to assess

DCF’s effectiveness in providing the five Named Plaintiffs with

“safety, permanency and well-being.”      Id. at 71:14.    In reaching

her conclusions, Dr. Azzi-Lessing drew upon COA and CWLA

standards, academic literature, federal welfare regulations,

internal DCF policies, and her own teaching experiences.         See

id. at 71:9-14, 73:14-74:2.

          2.   Children’s Research Center Case File Study

     The Children’s Research Center (“CRC”), a division within

the National Council on Crime & Delinquency, was retained by the

Plaintiffs to perform a study of DCF case files to determine

whether and the extent to which DCF met prevailing standards of

case practice in foster care.     See Trial Tr. vol. 4, 4:8-16,

20:15-20, Jan. 30, 2013, ECF No. 328.      Dr. Raelene Freitag (“Dr.

Freitag”), the director of CRC, managed the study and was a co-

author of the report that contained CRC’s findings.        Id. at

4:12-13, 30:7-15.    Dr. Kristen Johnson (“Dr. Johnson”), a senior

researcher at NCCD, assisted Dr. Freitag at all stages of the

study, performing study and research design, establishing data

collection protocols, training case readers, conducting data

cleaning and analysis, and co-authoring the CRC report.         See id.

at 22:25-23:2; Trial Tr. vol. 5, 67:22-68:3, 78:1-15, Jan. 31,

2013, ECF No. 329.   Dr. Erik Nordheim (“Dr. Nordheim”), a


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statistics professor at the University of Wisconsin-Madison in

Madison, Wisconsin, served as Dr. Johnson’s consultant and

advised CRC on its study’s sample design.       See Trial Tr. vol. 4,

31:14-32:2; Trial Tr. vol. 6, 33:19-21, 36:5-14.

     CRC conducted a longitudinal study that involved an

examination of a random and representative sample of 484 DCF

case files, equally divided into two cohorts of foster children

who were followed for a period of thirty months.9       See Trial Ex.

1066, Compliance Foster Care Case Practice Standards Mass. Dep’t

Children & Families: Longitudinal Study Two Cohorts (“CRC

Study”); Trial Ex. 1065, Compliance Foster Care Case Practice

Standards Mass. Dep’t Children & Families: Longitudinal Study

Two Cohorts app.C (“CRC Study Appendix C”); see also Trial Tr.

vol. 4, 24:24-25:2, 27:2-4, 31:6-13, 32:12-22; Trial Tr. vol. 5,

84:6-9.   The first cohort, labeled the “entry cohort,” was

comprised of children who had entered the Massachusetts foster

care system during the twelve-month window between July 1, 2009,

and June 30, 2010.   See Trial Tr. vol. 4, 25:6-9.       This

particular group of foster children was selected for the purpose

of assessing current DCF practice for children just entering

foster care.   Id. at 25:9-13.    The second cohort, labeled the

“two-year cohort,” gave CRC a picture of long-term DCF practice,

     9
       None of the Named Plaintiffs’ case files were among those
sampled in the CRC study. Trial Tr. vol. 4, 28:8-10.



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as the cohort consisted of children who had been in foster care

for two or more years as of July 1, 2009.          See id. at 25:14-20,

55:11-12.     The CRC study covered a wide range of “key points” in

foster care practice, touching upon reunification, permanency,

placement stability, maltreatment in care, and family

visitation, among other subjects.         Trial Tr. vol. 5, 77:13-22.

             3.   Psychotropic Medication Review

       Dr. Christopher Bellonci (“Dr. Bellonci”) is a board-

certified adult and child psychiatrist who presently works as an

assistant professor at Tufts University School of Medicine and

as an attending psychiatrist at Tufts Medical Center, both of

which are located in Boston, Massachusetts.          See Trial Tr. vol.

1, 111:24-112:3, 119:24-120:3, Jan. 22, 2013, ECF No. 325.            The

Plaintiffs retained Dr. Bellonci in March 2012 to review three

of the Named Plaintiffs’ case files and produce a report

speaking to the degree to which DCF met the standards governing

child welfare practices concerning the administration of

psychotropic medication and mental health services.           Trial Tr.

vol. 2, 36:2-6, 36:21-37:10, 114:13-19, Jan. 24, 2013, ECF No.

326.    He paid particular attention to whether DCF obtained

informed consent from the relevant parties to whom they were

responsible, provided adequate oversight of the psychotropic

drug administration process, and had in place an adequate

monitoring system.      See id. at 116:21-117:2.      To support his


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findings, Dr. Bellonci relied upon his personal experience

working with the foster care population and knowledge of other

states’ foster care systems, academic literature, federal

guidelines, and standards set forth by the American Academy of

Child and Adolescent Psychiatry (“AACAP”).       See id. at 38:3-10,

43:11-16, 43:25-44:10, 77:4-13.

          4.     Management Reviews

     Catherine Crabtree (“Crabtree”) is a senior project leader

at the Center for Government and Public Affairs at Auburn

University at Montgomery in Montgomery, Alabama, where she

consults with public agencies and non-profit institutions on

questions concerning organizational reform and performance

management.    Trial Tr. vol. 11, 7:19-22, 8:5-12.      Crabtree also

has an extensive background in child welfare, mental health, and

other social services work in Tennessee and Alabama.        See id. at

10:6-13:1, 14:25-16:7, 16:19-18:15.      In the spring of 2012, the

Plaintiffs contacted Crabtree to do a management review of the

Massachusetts foster care system.      See id. at 24:3-14.     The

management review focused on “four critical building blocks” of

child welfare agency practice, id. at 29:18-19: (1) the number

of skilled and trained DCF personnel; (2) the balance of foster

care placements and services; (3) the presence of quality

assurance systems; and (4) the existence of accountable and

stable leadership.   See id. at 29:15-31:2.      In the course of her


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review, Crabtree turned to a variety of sources, including state

and federal regulations, national professional standards, DCF’s

internal policies and communications, and deposition testimony.

See id. at 25:14-26:3.

     Arburta Jones (“Jones”) boasts a long work history in

various positions in the child and social welfare systems in New

Jersey.    See Trial Tr. vol. 8, 115:6-135:1, Feb. 6, 2013, ECF

No. 332.   The Plaintiffs retained Jones in May 2012 to study

issues related to the safety of children in DCF custody who are

situated in out-of-home placements.      Id. at 135:4-14.     Jones’s

review focused on the quality of four “hinge pins” of child

welfare, id. at 141:16: (1) family visitation; (2) foster home

licensing; (3) foster care investigations; and (4) internal and

external accountability systems.       Id. at 141:13-142:1.    Jones’s

analysis depended largely upon the depositions of DCF staff and

executives; DCF’s internal data, reports, and communications;

CWLA and COA standards; data produced by the Massachusetts

Office of the Child Advocate (the “OCA”); and state and federal

regulations.   Id. at 135:24-136:11, 138:11-20.




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     II.   FINDINGS OF FACT10

     The amount of material that this Court has been called upon

to review to inform its findings is, quite frankly, voluminous:

over the course of the last nine months, the Court has

scrutinized numerous depositions and party filings, heard

twenty-four days of trial testimony,11 read nearly 3000 pages of

trial transcript, and studied just under 1200 trial exhibits

(which themselves collectively comprised tens of thousands of




     10
       A motion for judgment on the record, like a motion for
judgment on partial pleadings made under Federal Rule of Civil
Procedure 52(c) (“Rule 52(c)”), grants a district court occasion
to enter judgment for a party prior to the conclusion of a jury-
waived trial “[i]f a party has been fully heard on an issue
during a nonjury trial and the court finds against the party on
that issue.” Fed. R. Civ. P. 52(c). Rule 52(c), however,
states that “[a] judgment on partial findings must be supported
by findings of fact and conclusions of law.” Id. (emphasis
added). The Court bristles at this requirement, as it
effectively gives short shrift to the party that has yet to put
on all of its evidence. (Indeed, the Defendants were able to
present only two of the fifteen witnesses that they expected to
call, so the trial record is likely incomplete. See Joint
Pretrial Mem., App. B, Defs.’ Witness List 2, ECF No. 277-2.)
Nevertheless, this Court is hamstrung by its obligation to obey
Rule 52(c)’s commandment. It must be understood, then, that
these findings may overstate matters in the Plaintiffs’ favor
even though ultimately they have fallen short.
     11
       Fifty days -- twenty for the Plaintiffs’ case-in-chief
and up to thirty for the Defendants’ -- had originally been
allotted for this trial. Elec. Clerk’s Notes, Jan. 16, 2013,
ECF No. 278. The Defendants’ motion for judgment on the record,
however, gave the Court appropriate reason to suspend the
proceedings. Defs.’ Mot. Directed Verdict, ECF No. 316.



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pages of documents).12    Obviously, it would be near impossible to

take into consideration every last shred of evidence on every

topic broached in this case.      Naturally, then, the Court

necessarily is selective in its reproduction of the record,

condensing the most salient kernels of information and

deemphasizing (or altogether omitting) those facts that are not

as germane to this Court’s conclusions.

     A.    Maltreatment in Foster Care

     HHS has conducted two rounds of CFSRs, the first spanning

the years from 2000 to 2004 and the second spanning the years

from 2007 to 2010.    See Nat’l Conference of State Legislatures,

State Progress Toward Child Welfare Improvement 2 (2010),

available at http://www.ncsl.org/documents/cyf/progress_cw_

improvement.pdf.    For the first-round CFSRs, HHS set the

national standard for the acceptable incidence of child abuse or

neglect in foster care at 0.57%, meaning that a 0.57% rate of

substantiated maltreatment would constitute the seventy-fifth

percentile of all states’ performance on this statewide data

indicator.13   See Trial Ex. 488, Background Paper: Child & Family


     12
       The Plaintiffs’ proposed findings of facts alone,
submitted in conjunction with their opposition to the
Defendants’ motion, measures a prolix 396 pages in length.          See
Pls.’ Mem. Law. Opp’n Defs.’ Mot. J. Record, Ex. A, Pls.’
Proposed Findings Fact, ECF No. 356-1.
     13
       The CFSR implementing regulations set the 75th percentile
of the states’ performance as “[t]he national standard for each

                                   16
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Servs. Reviews Nat’l Standards 2-3.      The first-round CFSR for

Massachusetts, completed in 2001, found a 0.85% incidence of

child abuse or neglect in 1997 and a 0.94% incidence of child

abuse or neglect in 1999, rates that were 0.28 and 0.37

percentage points above the national standard, respectively.14

Trial Ex. 55, Mass. Statewide Assessment: Mass. Child & Family

Servs. Review (“First-Round CFSR Statewide Assessment”) CSF-

000000425.   For the second-round CFSRs, HHS reframed this

statewide data indicator as the absence of maltreatment of

children in foster care by foster parents or facility staff and

pegged the national standard for this new metric at 99.68%15

(effectively tightening the old standard from 0.57% to 0.32%).

See The Data Measures, Data Composites, and National Standards

to be Used in the Child and Family Services Reviews, Notice, 71


statewide data indicator.” Title IV-E Foster Care Eligibility
Reviews and Child and Family Services State Plan Reviews, 65
Fed. Reg. 4020, 4024 (Jan. 25, 2000) (codified at 45 C.F.R. pts.
1355-1357).
     14
       Data for 1998 is unavailable because, during that year,
the Department was in the process of converting its management
information system. See Trial Ex. 56, Child & Family Servs.
Review: Final Assessment CSF-000000319.
     15
       The second-round CFSR national standard was originally
set at 99.67%. The Data Measures, Data Composites, and National
Standards to be Used in the Child and Family Services Reviews,
Notice, 71 Fed. Reg. 32,969, 32,980 tbl.1 (June 7, 2006). The
standard was raised to its present level after HHS undertook a
revision of CFSR standards to bring these measures in line with
new data. The Data Measures, Data Composites, and National
Standards to be Used in the Child and Family Services Reviews;
Corrections, Notice, 72 Fed. Reg. 2881, 2881 (Jan. 23, 2007).

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Fed. Reg. 32,969, 32,973 (June 7, 2006); The Data Measures, Data

Composites, and National Standards to be Used in the Child and

Family Services Reviews; Corrections, Notice, 72 Fed. Reg. 2881,

2886 tbl.A (Jan. 23, 2007).    In other words, if 99.68% or more

of foster children statewide were not victims of a substantiated

or indicated maltreatment, that state would be deemed to have

met the national standard.    The second-round CFSR for

Massachusetts, completed in 2007 and relying in part upon state

child welfare data from 2004, 2005, and the first three months

of 2006, found a 98.72% absence of child abuse or neglect in the

Commonwealth during the time period, 0.37 percentage points

below the national standard and marking a decline in performance

from the first-round CFSR.    See Trial Ex. 58, Final Report:

Mass. Child & Family Servs. Review (“Second-Round CFSR Final

Report”) CSF-000000747, CSF-000000750.

     Due to its poor performance in the second-round CFSR,

Massachusetts submitted a PIP for approval by HHS.        See

generally Trial Ex. 33, Mass. Child & Family Servs. Review

Program Improvement Plan.    The Department agreed to achieve an

improvement goal of 99.03%, see id. at 54, but later negotiated

a lower improvement goal of 98.8%, Trial Ex. 587, DCF PIP

Quarterly Report: Quarter One DCF000063281.       DCF met the latter

negotiated improvement goal.     Trial Ex. 588, DCF PIP Quarterly

Report: Quarter Two DCF000554885.


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     A third-round CFSR, though widely expected, has not yet

taken place.   See Children’s Bureau, U.S. Dep’t of Health and

Human Servs., Child and Family Services Review: Technical

Bulletin #6 (Feb. 4, 2013), available at http://www.acf.hhs.gov/

sites/default/files/cb/cfsr_tb6.pdf.      That said, HHS’s annual

publication reporting child maltreatment data serves to fill the

gaps for more recent years.    This publication provides state-by-

state data with respect to the absence of maltreatment in foster

care for a given federal fiscal year.      See, e.g., Trial Ex.

1088, Child Maltreatment 2010; Trial Ex. 1161, Child

Maltreatment 2011.   From 2006 to 2011, Massachusetts reported

absence of maltreatment rates of 99.05%, 99.14%, 98.93%, 99.16%,

99.22%, and 99.30%, respectively.      See Child Maltreatment 2010,

at 57 tbl.3-20; Child Maltreatment 2011, at 55 tbl.3-15.         These

results, when compared to those of other states, placed the

Commonwealth fourth worst out of forty-six reporting states in

2006, the seventh worst out of forty-six reporting states in

2007, the fourth worst out of forty-eight states in 2008, the

seventh worst out of forty-nine states in 2009, the eighth worst

out of forty-seven states in 2010, and the seventh worst out of

forty-nine states in 2011.16    See Child Maltreatment 2010, at 57

tbl.3-20; Child Maltreatment 2011, at 55 tbl.3-15.


     16
       DCF’s own internal data shows that the agency’s
performance in the area of child maltreatment has slipped since

                                  19
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     The CRC longitudinal study also documented rates of alleged

abuse or neglect committed against children in the study’s entry

and two-year cohorts.    Among 242 children in the entry cohort,

forty-four allegations of abuse or neglect during the DCF

observation period were reported.      See CRC Study tbl.18.     Twelve

of these allegations were substantiated, causing children to be

removed from their environments in eleven cases.17       Id.   This

means that roughly 5% of the children in the entry cohort sample

population were victims of substantiated abuse or neglect, and

that approximately 91.6% of these children were removed from

their environments.

     The CRC study reported comparable incidence rates for the

two-year cohort.   Among 242 children in the two-year cohort,

fifty-six allegations of abuse or neglect during the DCF

observation period were reported.      Id. tbl.45.   Ten allegations

were substantiated, and children were removed from their



2011. See Trial Ex. 964, Child & Family Servs. Review Measures
DCF011097888, DCF011421629 (reporting a 99.2% statewide rate of
absence of maltreatment in foster care for the twelve-month
periods ending March 31, 2012, and June 30, 2012).
     17
        Two of these twelve substantiated allegations fall into a
subcategory of allegations made specifically against an
individual in the foster home. See CRC Study tbl.18. But the
data shows that five children in this subcategory were removed
from their environments. See id. The Court admits its
uncertainty as to why more children were removed from their
placements than made substantiated allegations in this
subcategory, but has no cause to inquire further into this
matter.

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environment in eight of these cases.18     Id.     This means that

roughly 4.1% of the children in the two-year cohort sample

population were victims of substantiated abuse or neglect during

the observation period, and that approximately 80% of these

children were removed from their environments.

     Statistics on the two-year cohort prior to the observation

period are striking.   Of 240 children in the two-year cohort,

forty-three children were victims of substantiated maltreatment

prior to July 2009.    See CRC Study Appendix C tbl.C59.       This

means that at the start of the observation period, 17.9% of

children in the two-year cohort had already experienced

substantiated maltreatment while in DCF custody.        In roughly

37.2% of these cases, the children had been substantiated

victims between two and nine times.      See id.

     The five Named Plaintiff case files reviewed by Dr. Azzi-

Lessing documented egregious instances of maltreatment.         For

example, at the age of six, Connor B. was placed in a foster

home for four to six weeks with a teenager known to be at risk

for sexually abusing younger children.      See Trial Tr. vol. 6,

83:12-22, 84:10-23.    He reportedly raped Connor B. repeatedly

during the course of his stay.     See id. at 85:15-23.     The

     18
       Once again, the Court expresses confusion regarding the
reported statistics, this time because the number of sample
children removed from their parental homes is greater than the
number of substantiated incidents of abuse or neglect in those
settings. See CRC Study tbl. 45.

                                  21
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teenager was subsequently removed from the foster home, and DCF

revoked the foster home’s license to host foster children.         Id.

at 115:24-116:13.    In the case of Adam S., DCF initially

screened out complaints of abuse or neglect that allegedly took

place in Adam S.’s adoptive home, which included instances of

corporal punishment and force-feeding.      Id. at 117:9-19.

Eventually, a DCF investigator initiated a review of the foster

home, which resulted in the removal of certain foster children

from the home.   Id. at 118:18-22.     But because the investigator

did not provide the remaining children with protective services,

Adam S. and his sisters suffered brutal beatings by their

adoptive parents until they were ultimately removed from the

adoptive home as well.    See id. at 118:18-120:6.      Andre S. and

his sister, both under the age of four, resided in an

overcrowded foster home with seven other children for over two

years.   See Trial Tr. vol. 7, 28:1-4, 28:13-21, Feb. 5, 2013,

ECF No. 331.   At a later preadoptive foster placement at their

cousin’s home, Andre S. and his sister were reportedly prompted

to engage in sexual acts with one another and to watch the

cousin and her boyfriend have sex and take drugs together.         See

id. at 35:14-19, 38:14-22.    Andre S.’s sister also reported

being raped by the cousin’s boyfriend on numerous occasions.

Id. at 38:23-39:1.    The children were eventually removed, and




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DCF later investigated and substantiated the majority of the

reported events.   See id. at 39:2-9.

     Sworn trial testimony provided by Lauren James (“James”), a

former ward of DCF custody, also speaks to maltreatment in care.

See Trial Tr. vol. 1, 28:24-25, 29:25:30-2.       James attested to a

wide range of negative experiences in foster care, including,

among other things, sharing beds with other foster children, id.

at 32:24-33:1, performing excessive amounts of housework, id. at

35:11-36:12, having inadequate food, id. at 36:13-37:15, having

strained contact with family members, id. at 39:17-24, and

taking prescribed psychotropic medications beginning at age six

or seven, id. at 62:8-24.

     B.   Family Visits and Placements

     The maintenance of family relationships is an issue of key

concern for foster care agencies.      According to DCF policy,

foster children must be given the opportunity to receive their

parents and siblings on visits at least once per month.         Trial

Ex. 1, DCF Case Practice Policy & Procedures Manual DCF POL

(7/08) 140.   Children taken into foster care custody are also

expected to be relocated to a foster home or other placement

with or in close proximity to their siblings and other family

members, unless the placement would endanger a child’s safety.

See 42 U.S.C. § 671(a)(31)(A); Mass. Gen. Laws ch. 119, § 23(c);

110 Mass. Code Regs. 7.101(1)(b), (e).      By natural extension,


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then, Massachusetts regulations express an unambiguous

preference for placements with relatives, known as “kinship

placements,” and placements of children into homes in which

there are no other foster children, known as “child-specific

placements,” over other potential arrangements.        See 110 Mass.

Code Regs. 7.101(2)(a)-(b) (listing “placement with a kinship

family” and “placement with a child-specific family” atop the

hierarchy of possible placement resources).       DCF must screen

kinship placements and child-specific placements before a foster

child is relocated, however, and the Department is statutorily

obliged to reassess these placements on an annual basis.         110

Mass. Code Regs. 7.108(1)-(2), 7.113(1).

     In its first-round CFSR, Massachusetts’s performance in

achieving continuity in family and area relationships was found

to be in substantial conformity with federal law.        Trial Ex. 56,

Child & Family Servs. Review: Final Assessment (“First-Round

CFSR Final Assessment”) CSF-000000331; see also id. at CSF-

000000331-34 (dubbing as “strengths” Massachusetts’s efforts to

ensure that children in out-of-home placements remained in close

proximity to their former communities, maintained relationships

with their families, and were placed in safe homes with

relatives).   The Commonwealth did not achieve these results in

the second round, however.    See Second-Round CFSR Final Report

CSF-000000780-91 (labeling Massachusetts’s performance with


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respect to placements with siblings, kinship placements, and

preserving family connections as areas needing improvement).            If

one were to extrapolate from the results of the CRC study, it

would appear that child-family visits are a relatively rare

occurrence: only 20.9% and 37.6% of children in the entry cohort

received consistent monthly visits from siblings and parents,

respectively, for the entirety of the thirty-month review

period.19   CRC Study tbl.16.

     Nor does Massachusetts boast a sterling record with respect

to the suitability of placements.       Roughly 31.9% of children in

DCF custody have been placed outside of their local home area,

and some 18.6% of children were placed altogether outside their

region of origin,20 see Trial Ex. 418, Proximity Placement Tables

12, which makes visits with family members and caseworkers,

commuting to and from school, and attending doctor’s

appointments more difficult, see Trial Tr. vol. 11, 118:2-20.

The CRC study found that with respect to sibling placement, 69%

of children in the entry cohort with siblings also in foster

care were placed with at least one sibling for at least part of

     19
       In fact, only 40.2% of children in the entry cohort were
visited by any kin whatsoever in the thirty-month window. CRC
Study tbl.16. This memorandum omits reference to parallel data
for the two-year cohort, as certain omissions made the
information unhelpful for analytical purposes. See id. tbl.43b.
     20
       These figures are accurate as of March 31, 2012, the
latest date for which data has been provided. See Trial Ex.
418, Proximity Placement Tables 12.

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their time in care, and 49.5% of children in the entry cohort

were placed with all of their siblings for at least part of

their time in foster care.    See CRC Study tbl.8.      The rate of

sibling placement for children in the two-year cohort was

markedly worse: only 43.9% of children were placed with at least

one sibling, and a mere 18.7% of children were placed with all

of their siblings.   See id. tbl.37.     Reasons for the lapses in

sibling placements were documented in only 53.8% of cases in the

entry cohort and 38.4% of cases in the two-year cohort.         CRC

Study Appendix C tbl.C28.    In addition, children are sometimes

removed to kinship and child-specific placements that have not

yet received formal authority to operate.       See Trial Ex. 512,

Unapproved Homes Active Placements (reporting the list of

unapproved kinship and child-specific homes in the Boston,

Northern, and Southern regions with active placements).

     C.   Placement Stability

     Placement stability is another goal that often proves

elusive in Massachusetts.    DCF regularly makes use of a variety

of short-term placements.    See, e.g., Dep. Joy E. Cochran

(“Cochran Dep.”) 159:22-160:23, Apr. 13, 2012 (describing DCF’s

use of night-to-night placements, where foster children are

placed for periods of about a week or less and then moved to

other locations); Dep. Raymond W. Pillidge (“Pillidge Dep.”)

184:17-185:15, Mar. 7, 2012 (describing DCF’s use of hotline


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homes, where foster children may be placed for a few days or a

weekend in the event that there is a lack of available foster

homes).   These short-term placements disrupt the lives of

children in care and are often used for purposes other than

those for which they were designed.      See, e.g., Pls.’

Designations Fact Dep. Mary Gambon (“Gambon May Dep.”) 165:24-

167:17, May 14, 2012, ECF No. 226-1 (confirming former DCF

Commissioner Angelo McClain’s21 (“McClain”) belief that hotline

homes and night-to-night placements are “not good for kids,” id.

at 166:6-7, and agreeing that multiple placements are harmful to

foster children, id. at 167:13-15); Pillidge Dep. 184:17-185:1

(agreeing that hotline homes are to be used only for emergency

placements after the close of regular business hours); see also

110 Mass. Code Regs. 7.101(2)(e) (positioning “placement in a

shelter/short term program or group home” on a lower rung of a

prioritized list of placement options).

     Additional problems are posed by DCF’s reliance on

Stabilization, Assessment and Rapid Reintegration (“STARR”)

facilities and Intensive Foster Care (“IFC”) placements.         STARR

facilities are intended to be used as “up-to-45-day placement[s]

for children or youth who may be coming into the department’s

care or custody . . . [and who may warrant] a period of more


     21
       Commissioner McClain succeeded Commissioner Harry Spence,
presently the Administrator of the Massachusetts Trial Court.

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intensive assessment and stabilization before determining the

next appropriate level of care.”       Pls.’ Designations Rule

30(b)(6) Dep. Robert E. Wentworth, Jr. Re: Purchased Servs.

Licensing, Delivery, & Oversight 13:2-8, Dec. 29, 2011, ECF No.

226-1.   Likewise, IFC programs “provide therapeutic services and

supports in a family-based placement setting to children and

youth [who] . . . are transitioning from a residential/group

home level of care . . . or discharging from a hospital

setting.”   Trial Ex. 385, Intensive Foster Care Scope Serv.

DCF000465967.   Due to a lack of available foster homes, however,

foster children are frequently moved into STARR facilities and

IFC placements even when they do not meet the eligibility

criteria for entering such placements.      See Trial Ex. 407, Email

Frances Carbone to Perry Trilling & Amy Kershaw DCF003355182

(conveying a DCF’s employee stated reasons for using STARR

facilities, including “provid[ing] quick family treatment

sometimes to diffuse the situation so that the child can return

home”); Gambon May Dep. 213:9-17 (describing DCF’s practice of

“hoteling,” which refers to the assignment of a foster child to

an IFC placement even if the child does not exhibit the

requisite behavior or medical conditions that would qualify her

for the placement).   In certain instances, children remain in

these facilities for longer than is recommended.        See, e.g.,

Trial Ex. 673, N. Regional Office - Apr. 2011, at 1 (revealing


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that twenty-one children in DCF’s Northern Region remained in a

STARR facility for longer than the prescribed forty-five-day

period).

     These persistent placement problems can primarily be traced

to a single root cause: there is a severe shortage in the number

of foster homes in Massachusetts.      DCF’s general goal is to

maintain a pool of around 4000 unrestricted homes for foster

care placements, see Pls.’ Designations Rule 30(b)(6) Dep. Mary

Gambon Re: Recruitment & Retention Foster Homes (“Gambon Oct.

Dep.”) 94:12-95:12, Oct. 18, 2011, ECF No. 226-1, but the

Department has fallen short of that target since the late 1990s,

Trial Ex. 955, DCF Quarterly Reports, 2008-2012, Tab Q3 2012, at

62 fig.28.   Staffing shortfalls contribute substantially to the

drag in foster home recruitment.       See, e.g., Gambon Oct. Dep.

50:9-51:7 (explaining that four additional statewide recruiters

would be necessary in order to fulfill DCF’s recruitment

objectives); cf., e.g., id. at 17:14-18 (certifying that DCF’s

central office in Boston has only four employees dedicated, and

only in part, to the recruitment of foster homes).

     What’s more, neither bolstering the administrative ranks

nor obtaining the requisite number of foster homes will resolve

the ongoing placement challenges related to ensuring a child’s

unique fit with a prospective placement, a consideration which

rightly figures prominently in placement decisions.        See Gambon


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Oct. Dep. 96:20-97:14 (“At any point in time, when you look at

the number of homes that [DCF] ha[s] . . . you’ll have sometimes

upwards of 1,000, 1,500 homes without placements. . . . [I]t’s

all about matching the right home. . . . [W]e’re looking at are

we able to bring in homes that can take sibling groups, are we

able to bring in homes that can take certain types of behavior?

Are we able to bring in homes that can work more closely with

families?   Are we able to bring in homes that can commit to a

family over time as opposed to taking a child for three to five

days until we can find another home?      So a lot of it is not just

based on numbers but also the type of homes you look at.”); cf.

Trial Ex. 671, Findings Initial Child & Family Service Reviews:

2001-2004, at 22 (including “[m]ismatching placements to

children’s needs” among common concerns regarding placement

stability).

     D.     Permanency

     Because substitute care is a less-than-optimal outcome for

children, achieving permanency for children in foster care is

among DCF’s highest-priority objectives.      See 110 Mass. Code

Regs. 1.02(3)-(4).   To this end, DCF is called upon to “direct

[its] efforts toward reunification of child(ren) and parent(s),”

and “[a]s soon as it is determined that reunification is not

feasible, the Department [is instructed to] take swift action to

implement another permanent plan, such as adoption or


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guardianship.”   110 Mass. Code Regs. 1.02(4).      Massachusetts

regulations mandate that DCF provide to every family receiving

foster care services a service plan that lays out the conditions

necessary to achieve one of three goals, the two most relevant

being (1) the reunification of a foster child with her family,

or (2) the provision of an alternative permanent home for a

foster child.    110 Mass. Code Regs. 6.01(1)(b)-(c), 6.02.

     One of the principal ways to gauge success in this area is

to appraise the rate at which foster children who have exited

the foster care system reenter it.      See Trial Tr. vol. 19, 16:4-

17:1, May 7, 2013, ECF No. 347.     In the first-round CFSR,

Massachusetts’s rate of reentry was 22.3%, more than two-and-a-

half times greater than the national standard of 8.6% during the

2000-2001 review period.    First-Round CFSR Final Assessment CSF-

000000306.   By the second-round CFSR, only 15.7% of children

leaving the Massachusetts foster care system reentered it, a

figure still above the national median performance of 15% during

the 2006-2007 review period.     Second-Round CFSR Final Report

CSF-000000765.   In federal fiscal year 2010, 15.3% of

Massachusetts foster children who were discharged on the basis

of reunification reentered foster care within twelve months from

the date of discharge, Children’s Bureau, U.S. Dep’t of Health &

Human Servs., Child Welfare Outcomes 2008-2011: Report to

Congress 178 (2012), available at


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http://www.acf.hhs.gov/sites/default/files/cb/cwo08_11.pdf

[hereinafter Child Welfare Outcomes 2008-2011],22 which placed

the Commonwealth forty-first among fifty-two reporting

jurisdictions, Trial Ex. 1084, Table Summaries Child Welfare

Outcomes Data 2010 (“Child Welfare Outcomes Tables 2010”) 6.23

The next year, the rate of reentry crept up to 15.6%, Child

Welfare Outcomes 2008-2011, at 178, and Massachusetts’s national

rank fell to forty-third, Trial Ex. 1085, Table Summaries Child

Welfare Outcomes 2008-2011: Report Congress (“Child Welfare

Outcomes Tables 2008-2011”) 7.     Although the reported rates of


     22
       Technically, the Children’s Bureau report on child
welfare outcomes publicizing statistics from federal fiscal
years 2008 to 2011 is not in evidence. See Parties’ Am.
Uncontested Ex. List., Ex. A, Joint Uncontested Exs., ECF No.
367-1. The Court did, however, admit in evidence under Federal
Rule of Evidence 1006 a series of tables prepared by Elissa
Glucksman Hyne (“Hyne”), a senior policy analyst at Children’s
Rights, the national watchdog organization that spearheaded this
action against the Defendants on behalf of the Plaintiffs. See
Trial Tr. vol. 8, 52:6-11, 53:7-20, 57:19-20; Trial Ex. 1084,
Table Summaries Child Welfare Outcomes Data 2010; Trial Ex.
1085, Table Summaries Child Welfare Outcomes 2008-2011: Report
Congress. Hyne’s tables reproduce data found in the Children’s
Bureau report. See Trial Tr. vol. 8, 69:7-9. Consequently, the
Court cites to the online-accessible version of the report.
     23
       In addition to summarizing federal child welfare outcome
data, Hynes’s tables assigned rankings to each state, the
District of Columbia, and Puerto Rico on the basis of their
performance on various child welfare outcome measures. See
Trial Tr. vol. 8, 56:4-15. The Court declined to admit the
rankings, given that they were the product of “simple
arithmetic.” Id. at 57:22; see id. at 57:19-23. The Court has
since independently verified Hyne’s calculations and thus gives
credence to her ranked orderings as a reflection of the Court’s
own arithmetic computation.

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reentry from federal fiscal years 2010 and 2011 marked

improvements over those seen in the prior decade, they

nevertheless deviated fairly significantly from the national

medians at that time.    See Child Welfare Outcomes 2008-2011, at

viii tbl.2 (showing median rates of 12.6% and 11.8% for 2010 and

2011, respectively).

     Where reunification is impossible or impracticable, the

timeliness of adoptions serves instead as a bellwether of

progress in permanency.    See Trial Tr. vol. 19, 17:13-18:6.

According to results from the first-round CFSR for federal

fiscal year 1999, the median length of time for foster children

in Massachusetts to achieve adoption was 49.28 months.         First-

Round CFSR Statewide Assessment CSF-000000428-30.        During

federal fiscal year 2010, Massachusetts achieved a composite

score24 of 83.7 in timeliness of adoptions, Child Welfare



     24
       The composite score reflects an aggregate appraisal of
five individual measures related to the timeliness of adoptions:
(1) the percentage of children discharged from foster care to a
finalized adoption less than twenty-four months from the date of
the last removal from home; (2) the median length of stay in
care, from the date of the last removal to the date of adoption,
of all children in foster care who were discharged to a
finalized adoption; (3) the percentage of children in foster
care who were in care for seventeen or more continuous months as
of the first day of the year and who were discharged to a
finalized adoption by the final day of the year; (4) the
percentage of children who were in care for seventeen or more
continuous months and not legally free for adoption as of the
first day of the year, who then became legally free for adoption
during the first half of the year; and (5) the percentage of

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Outcomes 2008-2011, at 178, which represents forty-seventh place

among fifty-two reporting jurisdictions, Child Welfare Outcomes

Tables 2010, at 7.   For fiscal year 2011, Massachusetts obtained

a composite score of 76.2, Child Welfare Outcomes 2008-2011, at

178, which caused it to drop two places to forty-ninth place,

Child Welfare Outcomes Tables 2008-2011, at 8.       On a micro

level, Dr. Azzi-Lessing’s case file review squared with the

national results. She found that DCF had failed to achieve

permanent placements for all five Named Plaintiffs. See Trial

Tr. vol. 7, 73:3-77:15. What’s more, DCF’s efforts in this

regard were plagued by inconsistency and “inertia,” Trial Tr.

vol. 7, 75:21, causing the Named Plaintiffs to “languish” in

foster care for years, id. at 73:8, without clear prospects for

permanency.

     E.    Case Worker Visitation

     Federal law requires that caseworkers visit the children in

foster care to whom they are assigned on a monthly basis.         42

U.S.C. § 624(f)(1)(A).    Research shows that a correlation exists

between the frequency of caseworker visits and favorable foster

care outcomes.   Trial Tr. vol. 17, 107:20-21, May 3, 2013, ECF

No. 342.




children discharged to a finalized adoption less than twelve
months after becoming legally free for adoption. Child Welfare
Outcomes 2008-2011, at 178 & n.16.

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     From 2008 to 2011, between 43% and 50% of children received

monthly visits from the caseworkers, Child Welfare Outcomes

2008-2011, at 173, which fell far below the 90% benchmark set

for this metric during that time period, Trial Ex. 153, Monthly

Caseworker Visits Data Fiscal Year (FY) 2007, at 3.        CRC’s

review indicated that only 12.9% of children in the two-year

cohort received consistent monthly contact from their caseworker

throughout the two-year review period.      CRC Study tbl.41.      The

study also found that 16.1% of children in the entry cohort

received no contact at all from their caseworker during their

first month in DCF’s care.    CRC Study tbl.12.

     F.   Services

          1.   Preparing Foster Children for Adulthood

     The provision of life skills to foster children is a core

responsibility of child welfare agencies.       See, e.g., Trial Ex.

2, Case Practice Policy & Procedures Manual DCF POL 201 (“It is

critical that youth served by [DCF] be systematically and

comprehensively prepared for independent living to enable them

to function as productive members of society.”).        To this end,

42 U.S.C. section 675(5)(H) provides, in relevant part:

     [D]uring the 90-day period immediately prior to the
     date on which [a foster] child will attain 18 years of
     age, . . . a caseworker on the staff of the State
     agency, and, as appropriate, other representatives of
     the child [must] provide the child with assistance and
     support in developing a transition plan that is
     personalized at the direction of the child, [which]


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     includes   specific   options    on   housing,  health
     insurance, education, local opportunities for mentors
     and continuing support services, and work force
     supports and employment services, . . . information
     about the importance of designating another individual
     to make health care treatment decisions on behalf of
     the child if the child becomes unable to participate
     in such decisions and the child does not have, or does
     not want, a relative who would otherwise be authorized
     under State law to make such decisions, and provides
     the child with the option to execute a health care
     power of attorney, health care proxy, or other similar
     document recognized under State law, and is as
     detailed as the child may elect . . . .

42 U.S.C. § 675(5)(H).

     Many children, however, “age out” of foster care without

ever having learned the necessary life skills to succeed outside

the walls of a foster placement.          In both the first- and second-

round CFSRs, the provision of independent living services was

deemed an area needing improvement.         See First-Round CFSR Final

Assessment CSF-000000327; Second-Round CFSR Final Report CSF-

000000777.    Indeed, in the third quarter of state fiscal year

2012, nearly as many children left their placements at the age

of eighteen as were adopted.     DCF Quarterly Reports, 2008-2012,

Tab Q3 2012, at 60 tbl.21.

             2.   Medical Services

     Every child, upon entry into the Massachusetts foster care

system, must be “screened and evaluated under the early and

periodic screening, diagnostic and treatment [(“EPSDT”)]

standards established by Title XIX of the Social Security Act.”



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Mass. Gen. Laws ch. 119, § 32.       EPSDT services are manifold:

among others, they include regular pediatric preventive

healthcare visits, physical and nutritional assessments, and

developmental and behavioral screening.        See Trial Ex. 621,

Early & Periodic Screening, Diagnosis, & Treatment (EPSDT) Med.

Protocol & Periodicity Schedule (Med. Schedule) & EPSDT Dental

Protocol & Periodicity Schedule (Dental Schedule) DCF006427603-

10.   “Medical passports” are documents prescribed by

Massachusetts regulations for use in the foster care system to

keep track of a child’s medical, dental, mental health, and

developmental history for the length of the child’s stay in

foster care.    110 Mass. Code Regs. 7.124.       DCF personnel are

required to maintain medical passports for each child in its

care, id., and are expected regularly to update the passports

with relevant information regarding each child’s responses to

medication and treatment interventions, see Trial Tr. vol. 2,

60:13-61:3, 63:7-15.

      Evidence in the record suggests that foster children in

Massachusetts commonly receive medical screenings in an untimely

fashion, if at all.     In 2011, just 12.1% of foster children

received on-time, seven-day medical visits; 7.1% received on-

time, thirty-day medical visits; and 18.2% completed a medical

visit.   Trial Ex. 610, Monthly Compliance Medical Screenings Due

2011, at 1.


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     It is also rare to have medical information that is fully

complete.   The CRC researchers found that only 52.1% and 73.7%

of children in the entry cohort and children in the two-year

cohort were provided medical passports at their scheduled time.

CRC Study Appendix C tbl.C37.     Dr. Bellonci opined that he

rarely sees medical passports when meeting with patients, which

reflects something akin to the rule rather than the exception.

Trial Tr. vol. 2, 62:1-17 (“In my 20 years of working with this

population, I saw medical passport approximately three or four

times.   And that’s not an unusual experience.”    Id. at 62:5-7).

            3.   Psychotropic Medication

     Children in foster care often enter the system with a

history of biological and psychological problems, due in no

small part to abuse, neglect and frequent environmental changes.

See Trial Ex. 17, AACAP Position Statement Oversight

Psychotropic Medication Use Children State Custody: Best

Principles Guideline (“AACAP Guidelines”) 1.       As a result,

foster children are often prescribed psychotropic drugs to treat

persistent behavioral and emotional issues.       See id.

     National data suggests that foster children in

Massachusetts are prescribed psychotropic drugs at rates

exceeding those in other states.       A report published by the U.S.

Government Accountability Office (the “GAO”) in 2011, reviewing

psychotropic drug prescription rates and oversight practices in



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five states (including Massachusetts) in 2008, found that

Massachusetts had the highest percentage of children prescribed

psychotropic medication among the states considered in the

report.25   Compare Trial Ex. 16, Foster Children: HHS Guidance

Could Help States Improve Oversight Psychotropic Prescriptions

(“GAO Report”) 102 app.XVII (noting that 39.1% of foster

children in Massachusetts are prescribed psychotropic drugs),

with id. at 101 app.XVII (noting that 22.0% of foster children

in Florida are prescribed psychotropic drugs), id. at 103

app.XVII (noting that 21.0% of foster children in Michigan are

prescribed psychotropic drugs), id. at 104 app.XVII (noting that

19.7% of foster children in Oregon are prescribed psychotropic

drugs), and id. at 105 app.XVII (noting that 32.2% of foster

children in Texas are prescribed psychotropic drugs).         More

particularly, 4.9% of children between the ages of zero and

five, 44.8% of children between the ages of six and twelve, and

53.4% of children between the ages of thirteen and seventeen had

been prescribed psychotropic drugs, which exceeded the

prescription percentages for nonfoster children in each

demographic band by between two and four times.         Id. at 102

app.XVII.   Overall, foster children in Massachusetts were also

     25
       Results derived from the CRC’s more targeted population
study support those announced by the GAO. See CRC Study
Appendix C tbl.C46 (finding that in the CRC study, 16.5% of the
children in the entry cohort and 52.1% of the children in the
two-year cohort were given psychotropic medication).

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3.8 times more likely to be prescribed psychotropic drugs than

children outside of foster care in the Commonwealth, see id.,

which sat squarely in the middle range among the five states,26

see id. at 101 app.XVII, 103-05 app.XVII.

     There are numerous side effects associated with taking

psychotropic medications, including hallucinations, mania,

paranoia, headaches, nausea, sexual and menstrual problems,

rashes, suicidal thoughts, and pancreatic and liver damage, see

id. at 41-44 app.II, and additional indicia point to the

potential for other health risks.      Research suggests that the

concomitant use of five or more psychotropic drugs by children

holds no medical benefits, that higher doses of psychotropic

drugs may prove less effective than the recommended dose, and

that no medical evidence supports the use of psychotropic drugs

in children under the age of one.      See id. at 14-15.    The GAO

report found that 1.33% of foster children in Massachusetts are

prescribed five or more psychotropic medications concomitantly,

id. at 107 app.XVIII, which exceeds the percentage of children

prescribed five or more medications in all four of the other

surveyed states, see id. at 106 app.XVIII, 108-10 app.XVIII.


     26
       The Court acknowledges, however, the danger in drawing
conclusive inferences from comparisons between children in and
outside of foster care, as the children who enter foster care
may, given their often severe physical and emotional issues and
troubling life experiences, need medical intervention more than
the average child.

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Moreover, 2.21% of foster children in Massachusetts were given

dosages of psychotropic medications exceeding the maximum

amounts cited on FDA-approved drug labels, id. at 107 app.XVIII,

a percentage that dwarfed those found in three of the four other

states, see id. at 106 app.XVIII, 108-10 app.XVIII.

     The administration of psychotropic drugs is only one piece

of the puzzle, however: informed consent, clinical oversight,

and monitoring systems are required to have a fully functioning

medical apparatus in the foster care system.       Psychotropic drugs

cannot be prescribed without the informed consent of either a

child’s parent or guardian or the state, standing in loco

parentis, see Trial Tr. vol. 2, 9:20-10:3; AACAP Guidelines 2,

and according to AACAP guidelines, the assent27 of the child

herself also ought be obtained, AACAP Guidelines 2.        Clinical

oversight and documentation -- manifested in the form of medical

passports -- are particularly helpful, given the frequent

movement of foster children from one placement to the next.            Cf.

Trial Tr. vol. 2, 64:24-65:12 (explaining that medical treatment

of children who experience multiple placement moves is

     27
       “Consent” refers to the approval of medical treatment
given by an individual who is legally empowered to give such
approval; “assent,” on the other hand, refers to the approval of
medical treatment given by one who is legally unable to give her
consent, like a child. See Jessica Setless, Note, The Crisis of
Over-Medicating Children in Foster Care: Legal Reform
Recommendations for New York, 19 Cardozo J.L. & Gender 609, 623
n.140 (2013).



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challenging because of the multiplicity of sources a medical

provider must canvas to collect a patient’s complete medical

history).   Further, federal law calls for the deployment of

comprehensive monitoring systems, 42 U.S.C. § 622(b)(15)(A)

(mandating that child welfare services plans contain, inter

alia, “a plan for the ongoing oversight and coordination of

health care services for any child in a foster care placement”),

which aim to moderate the risks associated with psychotropic

medications, see AACAP Guidelines 2 (noting that child welfare

agencies should, at a minimum, “[e]stablish guidelines for the

use of psychotropic medications for youth in state custody”28).

     Proof of unauthorized or excessive psychotropic

prescriptions were rampant in the three Named Plaintiffs’ case

files reviewed by Dr. Bellonci.     See Trial Tr. vol. 2, 80:5-

82:19.    Similarly, medical files reviewed in the CRC study

rarely included critical information such as when a child had

first been prescribed a medication or even whether a child was

being treated with medication at all.      See Trial Tr. vol. 4,

50:1-9.



     28
       AACAP lists the establishment of child welfare training
requirements, the creation of programs for the oversight of
medication utilization, the maintenance of certain medical
records information, and the design of a psychiatric
consultation program as recommended or ideal action. See AACAP
Guidelines 2-3.



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     Massachusetts has a mechanism for overseeing the

administration of certain psychotropic drugs, however.         Pursuant

to the Rogers process,29 courts are formally required to

authorize the prescription of antipsychotic medications -- a

subclass of drugs within the family of psychotropic medications,

Trial Tr. vol. 1, 126:20-25 -- to children in DCF custody.

Trial Tr. vol. 10, 116:1-5, Feb. 15, 2013, ECF No. 334.         In

2009, a working group comprised of representatives from

Massachusetts health and welfare agencies and university

researchers, the Massachusetts Department of Mental Health, the

OCA, and DCF was convened to address issues related to the

process of obtaining consent for the prescription of

psychotropic medications to children.      See Trial Tr. vol. 2,

31:16-17; Trial Tr. vol. 10, 116:6-9, 116:13-20; Trial Ex. 630,

Rogers Process Working Grp. Minutes DCF004956552.        A study

commissioned by the OCA in service of the Rogers working group

identified a host of benefits of the Rogers process -- namely,

secondary review of antipsychotic prescriptions prior to

treatment, the appointment of guardians ad litem, and dedicated

     29
       The Rogers process takes its name from Rogers v.
Commissioner of Dep’t of Mental Health, 390 Mass. 489 (1983), in
which the Massachusetts Supreme Judicial Court held that an
incompetent patient may be compelled to undergo nonemergency,
antipsychotic drug therapy only after a judicial determination
is made to that effect. See id. at 500-02. The court’s
reasoning was later adopted in regulations by DCF’s predecessor
agency. Trial Ex. 1090, Examination Rogers Process Youth
Custody Mass. Dep’t Children & Families 2.

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resource allocation.     Trial Ex. 1090, Examination Rogers Process

Youth Custody Mass. Dep’t Children & Families (“Rogers Report”)

8.   A number of challenges were also brought to the fore: the

Rogers process was without adequate standardization,

coordination, and quality assurances; was slow-going; failed to

take proper account of medical expertise; and featured

inadequate systemic oversight of antipsychotic medication

administration.    Id. at 9-10.    Perhaps most troubling, drugs

that are not listed as Rogers-process eligible -- namely, non-

antipsychotic psychotropic medications, of which there are

numerous kinds -- are prescribed without the consent of a court

or of DCF.    Pls.’ Designations Fact Dep. Jan Nisenbaum 194:1-8,

May 18, 2012, ECF No. 226-1.      The study offered a number of

recommendations that might resolve these issues, see Rogers

Report 13-16, but it is unclear whether any of the

recommendations that emerged out of the Rogers working group

were ever implemented, see Trial Tr. vol. 2, 35:23-36:1.

      G.     Caseloads

      Massachusetts General Laws chapter 18B, section 7 empowers

the Commissioner of DCF with the authority to “establish

reasonable caseload rates.”     Mass. Gen. Laws ch. 18B, § 7(a).

The term “caseload” refers to the number of children for which

an individual caseworker is responsible at a given time.          Trial

Tr. vol. 11, 31:25-32:1.     Because the mere number of children


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per caseworker fails fully to capture the actual burden that

caseworkers must shoulder, however, “workload” is the more

favored metric to use to analyze the reasonability of caseloads.

See id. at 32:9-12.    A caseworker’s workload comprises a

“multitude of tasks related to the actual caseload of one

child,” id. at 32:22-23, including traveling to and from the

child’s home to facilitate sibling visits, scheduling

appointments, composing permanency requirements, and performing

data entry, see id. at 32:12-21.       For a workload to be deemed

manageable, national standards dictate that caseworkers “simply

have to have enough time to meet their practice requirements

based on how their state is organized, or how their agency is

organized,” id. at 35:12-18, taking into consideration

caseworkers’ qualifications and subject-matter competencies, id.

at 35:18-20.    Generally speaking, a workload study must be

undertaken to gauge the appropriateness of caseworker caseloads.

Id. at 36:20-22.    Nevertheless, national standards suggest that,

even in the absence of a workload study, caseloads of between

twelve and eighteen children represent the maximum that a

caseworker can carry while still satisfying her job

requirements.    See id. at 36:22-25 (noting that CWLA recommends

caseload ratios of between twelve and fifteen children per

caseworker); id. at 37:16-18 (noting that COA recommends




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caseload ratios of between twelve and eighteen children per

caseworker).

     DCF employs individuals known in internal agency parlance

as “ongoing” caseworkers who provide continuous services to

children in the foster care system.      See id. at 38:8-17.      Unlike

their equivalents in most other states’ child welfare agencies,

DCF’s ongoing caseworkers carry “mixed” caseloads, meaning that

they are responsible for providing services to children placed

both in their family home or in a foster home.       See id. at

40:23-41:3; Trial Ex. 642, Dep’t Children & Families Proposal

Reducing Ongoing Caseloads (“15 Families Initiative

Presentation”) DCF010275221.     DCF has not conducted or

commissioned its own workload study, nor has it adapted those

performed by other child welfare agencies.       See Trial Tr. vol.

11, 45:19-24; Trial Tr. vol. 16, 92:11-15.       Instead, DCF’s

current caseload standards -- which derive from a collective

bargaining agreement originally struck in the mid-1980s between

the Commonwealth and the union representing the interests of DCF

caseworkers, see Trial Ex. 641, Dep’t Children & Families

Rationale for Reducing Ongoing Caseloads DCF010278533 --

prescribe that ongoing caseworkers be assigned eighteen cases




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per month.30   Trial Ex. 21, Collective Bargaining Agreement 121.

In 2005, the two contracting parties agreed in a memorandum of

understanding to assign weights to caseloads to account more

accurately for caseworkers’ actual workload.        Trial Ex. 647,

Mem. Understanding Between Dep’t Soc. Servs. & DSS Chapter SEIU

Local 509 Concerning Family Res. Workers DCF003540781

(weighting, for example, 0.6 points per active foster home, 0.9

points per foster home undergoing licensure, 0.75 points per

licensed foster home on probation, and 0.4 points per out-of-

state foster home).

     Since at least 2008, scores of DCF caseworkers have carried

caseloads in excess of the agreed-upon eighteen cases.          See,

e.g., Trial Ex. 957, Workers Weighted Caseloads Greater 18

Reports, 2008-2012 (“Caseloads Reports”), Tab June 2008, at 57

(reporting that as of June 30, 2008, 1034 social workers across

six regional offices and a special investigations unit had

weighted workloads of over eighteen cases); id. Tab June 2009,

at 48 (reporting that as of June 30, 2009, 836 social workers

across six regional offices and a special investigations unit

had weighted workloads of over eighteen cases); id. Tab June

2010, at 24 (reporting that, as of June 30, 2010, 777 social


     30
       This 18:1 caseload ratio applies regardless of whether a
child is in an in-home or out-of-home placement. See Tr. vol.
11, 43:14-18.



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workers across six regional offices had weighted workloads of

over eighteen cases); id. Tab June 2011, at 15 (reporting that,

as of June 30, 2011, 492 social workers across four regional

offices had weighted workloads of over eighteen cases).31

Indeed, as of August 2012 (the last month from which the parties

could gather facts in this case), 390 caseworkers had weighted

workloads of greater than eighteen cases.       Id. Tab August 2012,

at 11.

     Observing that the 18:1 caseload ratio established in the

1980s collective bargaining agreement was “[r]apidly [b]ecoming

[o]bsolete,” 15 Families Initiative Presentation DCF010275219,

DCF launched a campaign known as the “15 Families Initiative,”

with the aim of reducing caseload ratios to 15:1, see Pls.’

Designations Fact Dep. Angelo McClain DCF’s Chief Staff

(“McClain Dep.”) 132:1-23, May 25, 2012, ECF No. 226-1.         DCF

acknowledged that such a reduction would bring the Commonwealth

in line with national trends and standards.       15 Families

Initiative Presentation DCF010275220-21.      In order to achieve

this goal, however, DCF estimated that it would need nearly two

hundred additional ongoing caseworkers at an approximate annual

cost of about $10,100,000.    Id. at DCF010275224.


     31
       The statistics cited here, which come from DCF’s own
caseload reports, include data for assessment unit, adolescent
unit, and intake/investigations unit caseworkers, as well as
ongoing caseworkers. See Caseloads Reports.

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      H.    Qualifications and Training

      Optimally, child welfare agencies should implement social

worker training development programs that feature, among other

elements, new-hire curricula, on-the-job and supervised

training, performance evaluations, continuing in-service

training, channels for feedback, and plans for routine reviews

and updates of training practices.        See Trial Tr. vol. 11, 93:6-

21.   See generally Trial Ex. 1092, Building Effective Training

Sys. Child Welfare Agencies.

      DCF regularly hires ongoing caseworkers through a

competitive, Department-sponsored internship program.          Pls.’

Designations Rule 30(b)(6) Dep. Olga I. Roche Re: Staffing,

Caseloads, & Training 146:1-147:1, Jan. 20, 2012, ECF No. 226-1.

Candidates are often recent college graduates holding a

bachelor’s degree or an associate’s degree paired with relevant

work experience.     Id.   In either case, caseworkers typically

arrive at DCF full-time with a fair degree of prior experience.

See id.

      New recruits must participate in a competency training

program, held monthly, where incoming caseworkers are trained in

areas ranging from child development and diversity to

deescalation and safety techniques.        Trial Ex. 374, Annual

Progress & Servs. Report: Fed. FY2012 (“DCF FY2012 Progress

Report”) DCF007413805.      Funding cuts, however, have led to a


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reduction in the number of training programs, see id. at

DCF007413695 (recounting a cut of $200,000 from the budget for

the Child Welfare Training Institute since fiscal year 2011),

and due to heavy workloads, existing training opportunities

frequently go underutilized, see First-Round CFSR Final

Assessment CSF-000000356.

     I.      Accountability Systems

     To maintain eligibility for funding under Title IV-B of the

Social Security Act, states must prepare and submit a five-year

Child and Family Services Plan (“CFSP”).      State & Tribal Child &

Family Services Plan, Children’s Bureau, http://www.acf.hhs.gov/

programs/cb/programs/state-tribal-cfsp (last visited November

20, 2013).    The CFSP is a document that describes foster care

services offered by the state.     45 C.F.R. § 1357.10(c).      Among a

host of other requirements, the CFSP must include “a description

of the quality assurance system [the state] will use to

regularly assess the quality of services under the CFSP and

assure that there will be measures to address identified

problems.”    45 C.F.R. § 1357.15(u).    There is at present a

dearth of staff members whose roles are dedicated to managing

continuous quality improvement.       See Pls.’ Designations Fact

Dep. Ruben Ferreira 13:16-15:14, Feb 2, 2012, ECF No. 226-1.

     DCF’s internal review system is driven in part by a

periodic publication known as the Continuous Quality Improvement


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management report, commonly referred to as a scorecard.         See

Trial Ex. 964, CFSR Measures Reports 2008-2012 (“CFSR

Scorecards”); Trial Tr. vol. 14, 59:24-25, Apr. 30, 2013, ECF

No. 339.    Each quarter, the CFSR scorecard documents the

agency’s twelve-month performance on seventeen measures tracked

nationally by ACF, such as “Absence of Maltreatment Recurrence,”

“Median Time to Reunification,” and “Percent [of Children

Exiting to Adoption] Who Exit In Less Than 24 Months.”         See

Trial Tr. vol. 14, 59:24-25, 60:2-8, 60:22-23.       For each

measure, the scorecard compares the state’s overall performance

and the performance of individual regions and cities to a target

benchmark based on nationwide performance.       See CFSR Scorecards.

The results are distributed to DCF management staff throughout

the state.    See Trial Tr. vol. 14, 60:8-11.

        To bolster internal agency morale and to help managers

quickly identify areas in the most need of improvement, the

presentation of information on the scorecards has changed over

the years.    Id. at 74:7-19; 76:23-25, 76:1-12.     The first

scorecards issued in 2008 labeled data with green and red arrows

to identify whether DCF performed at a level above or below the

national standard.    See, e.g., CFSR Scorecards, Tab December 31,

2008.    In 2011, the scorecard design began to use letter grades

and a new grading method, based on how close DCF’s performance

came to meeting the target benchmark and the national median.


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See CFSR Scorecards, Tab June 30, 2011.      For example, the

scorecard issued on December 31, 2011 shows that in the

preceding twelve months, there was “Absence of Maltreatment

Recurrence” in 92.3% of DCF cases statewide.       See CFSR

Scorecards, Tab December 31, 2011, at DCF011158648.        The target

performance level for this measure is 94.6%,32 and the national

median is 93.3%.   Id.   Whereas previous scorecards would have

used a red arrow to highlight that DCF fell short of the

benchmark that year, under the new grading method the state was

assigned A+ letter grades for its performance relative to the

target benchmark and the national median.33      This means that an

A+ letter grade can correspond to performance at a level just

below the national median.    See Trial Tr. vol. 14, 78:19-23.

Under this grading method, the same scorecard assigned to DCF an

A- and an A+ grade in another area where the agency

underperformed the twenty-fifth percentile of the national

standard.   See CFSR Scorecards, Tab December 31, 2011, at

DCF011158648 (awarding, on the measure “C1.2: Median Time to

Reunification,” an A- for the state’s performance relative to

     32
       Target performance levels for all measures did not change
from 2008 through September 2012, the date of the last scorecard
submitted in evidence. See CFSR Scorecards.
     33
       This grade is determined by calculating the ratio between
DCF’s performance and the national standard. In other words,
DCF achieved 97.5% of the national standard because the state-
to-national ratio of 92.3 to 94.6 is 97.5%, a percentage
corresponding to an A+ grade.

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the twenty-fifth percentile and an A+ for the state’s

performance relative to the median).

      J.    Foster Care Maintenance Payments

      The AACWA designates certain federal funds to be allocated

to states to assist with their administration of foster care

services.    To remain eligible to receive federal funds under the

AACWA, states must, inter alia, issue per diem allowances --

known more commonly as “foster care maintenance payments” -- to

foster parents for the costs associated with raising children

removed from their familial homes.34       See 42 U.S.C. § 672(a)(1).

The daily rates at which these foster care maintenance payments

ought be disbursed are set by the U.S. Department of Agriculture

(“USDA”).    See Mass. Gen. Laws ch. 119, § 23(h).        Massachusetts

law requires DCF to make foster care maintenance payments at the

USDA-recommended levels and periodically to adjust the amount of

these payments in accordance with “the financial circumstances

of the family, the needs of the child or the rate of inflation.”

Id.

      From 2004 until March 2012, DCF’s foster care maintenance

rates stagnated, lingering at $17.10 per day for children

      34
       These include costs associated with “food, clothing,
shelter, daily supervision, school supplies, a child’s personal
incidentals, liability insurance with respect to a child,
reasonable travel to the child’s home for visitation, and
reasonable travel for the child to remain in the school in which
the child is enrolled at the time of placement.” 42 U.S.C. §
675(4)(A).

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between the ages of zero and five, $17.96 per day for children

between the ages of six and twelve, and $18.59 per day for

children ages thirteen and over.       Trial Ex. 187, Historical FC

Rates (listing historical foster care maintenance and other

allotment rates from before fiscal year 1997 to the present).

Although the Court does not have before it the USDA rates for

the entirety of that time period, the USDA rates established in

2008 (and apparently in effect until at least 2010) were set at

$20.60, $23.14, and $24.52 per day for each of the three

respective demographic groups in the Urban Northeast region.

Trial Ex. 11, Sept. 28, 2010 Letter Angelo McClain Re: FY12

Maintenance Request (“Sept. 28 McClain Letter”) DCF000827080.

DCF’s rates over four years, therefore, consistently fell

between 17% and 24% below the 2008 USDA rates.       Id.

     In fiscal years 2010 and 2011, DCF issued foster care

recompense payments of $5 per day, per child for expenses

incurred over the course of two six-month periods during those

years in an effort to reimburse foster parents retroactively for

the outlays they had made while receiving below-USDA-level

foster care maintenance payments.      Pls.’ Designations 30(b)(6)

Dep. Ellen Finnegan Re: Foster Care Maintenance Payment Rates

163:14-164:1, Oct. 5, 2011, ECF No. 226-1.       These catch-up

payments, however, were regarded only as temporary expenditures;

the official foster care maintenance rate schedule did not see


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any upward adjustment.    See Trial Tr. vol. 12, 20:21-21:1; see

also Trial Ex. 13, Feb. 23, 2010 Letter Angelo McClain Re:

Foster Care Recompense Payment DCF003570659.       Moreover, in

certain instances, the payments proved fruitless by the time

they were disbursed, as the children the payments were intended

to benefit no longer resided with the foster parents receiving

the recompense.   See Trial Tr. vol. 12, 20:14-18.

     On March 1, 2012, thanks to a $12,000,000 set-aside in the

state budget, DCF finally brought its foster care maintenance

rates up to USDA levels.    McClain Dep. 150:18-151:9.      At trial,

however, McClain recounted the rather unexpected nature of the

rate increase, Trial Tr. vol. 15, 110:20-22, May 1, 2013, ECF

No. 340 (“The stars aligned and we were able, we got $12 million

in the budget last year and we were able to raise the rates.”),

and expressed a degree of uncertainty as to how the Department

would be able to obtain the funds necessary to raise rates in

the upcoming fiscal year, id. at 110:23-111:5 (“We calculated

[the foster care maintenance payment rate] for this year

starting July 1st, and we would need another $2 million to raise

the rates again. . . . [A plan to seek that money from the state

legislature] was in the governor’s budget, and we’re hoping it

will make its way through the legislative process.”).        Crabtree

also testified to the fact that although DCF managed to raise

its rates, “[the raise] was not legislatively part of the


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code[,] [so] with a new commissioner . . . that could change.”

Trial Tr. vol. 12, 23:15-17; see also id. at 23:10-21.

     K.   Case Plans

     States accepting federal funds for the administration of

child welfare systems are also required under the AACWA to

“develop[] . . . a case plan . . . for each child receiving

foster care maintenance payments.”      42 U.S.C. § 671(a)(16).        A

case plan must include a broad swath of information pertaining

to a foster child, such as the appropriateness of the child’s

prospective placement, details on the services that the child is

expected to receive, the child’s health and education records,

and plans certifying the steps taken towards ensuring permanency

and educational stability.    42 U.S.C. § 675(1)(A)-(G).

     In the CRC study, 14.6% of children in the entry cohort and

35.1% of children in the two-year cohort were missing case plans

in their case files.35   CRC Study tbls.28a & 55a.      Of the entry

cohort case files containing case plans for children who had

been in DCF for thirty-one or more days, many of them were

incomplete: only 65.8% of the case plans contained child service

data, and 73.9% of the case plans contained family service data.

Id. tbl.29.   The case plans for children in the two-year cohort

featured even greater lacunae.     See id. tbl.56 (reporting that


     35
       The CRC researchers referred to “service plans” in their
study. That term is synonymous with “case plans,” however.

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only 31.8% of two-year cohort case plans contained child service

data and that a mere 10.7% of two-year cohort case plans

contained any family service data).

     L.   Notice and Process

     DCF must conduct a review of foster care services and goals

within six months of a child’s removal from her family home and,

thereafter, every six months.     See 110 Mass. Code Regs. 6.10(1).

A hearing setting out permanency goals must be held within a

year of a child’s removal from her home.      Mass. Gen. Laws ch.

119, § 29B(a).   Massachusetts regulations provide that DCF

“shall give written notice to a client36 if the Department

intends to deny, reduce, or terminate [foster care] services, or

increase the cost thereof.”37    110 Mass. Code Regs. 8.01(1).         The

notice must include, inter alia, “a statement of what action the

Department intends to take,” “the reasons for the action,” and

“the date on which the action shall become effective,” 110 Mass.

Code Regs. 8.01(1)(a)-(c), and must be memorialized in writing

and delivered to the foster child or family no less than


     36
       Massachusetts regulations define a client as “[a]n
applicant for or recipient of Department services,” 110 Mass.
Code. Regs. 10.02. For the purposes of Fair Hearings and other
grievances, “[f]oster parents, pre-adoptive parents or adoptive
parents in their status as such [are] considered clients.” Id.
     37
       In certain instances -- none of which apply here --
advance notice need not be given. See 110 Mass. Code Regs.
8.01(3).



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fourteen days before the date of the intended action.        110 Mass.

Code Regs. 8.01(2).    The suspension of services may be appealed

through an administrative review known as a “Fair Hearing,” 110

Mass. Code Regs. 10.10, which must be held within sixty-five

business days of the appeal’s initiation, 110 Mass. Code Regs.

10.10(1).    It is unclear whether notice of suspended services is

provided in every instance.       See, e.g., Pls.’ Designations Fact

Dep. Virginia Peel (“Peel Dep.”) 84:24-85:22, Feb. 8, 2012, ECF

No. 226-1.    Budget cuts have led to significant backlogs in fair

hearings.    McClain Dep. 147:17-148:1.

     In the CRC study, 11.6% of children in the entry cohort had

received a foster care review within six months of entering DCF

custody, and 57.5% of such children had attended a permanency

hearing.    CRC Study tbl.20a.    In the two-year cohort, 26.9% of

children had had a foster care review within six months of

entry, while 61.6% of said children had attended a permanency

hearing.    CRC Study tbl.47a.    Comparative statistics regarding

other states’ performance in providing notice and process to

children in foster care are not available for cross-reference,

however.

III. RULINGS OF LAW

     A.      Standard of Review

     Federal Rule of Civil Procedure 52(c) (“Rule 52(c)”)

provides the standard that governs motions for judgment on the


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record38 proffered to a court during the course of a jury-waived

trial.    See Federal Ins. Co. v. HPSC, Inc., 480 F.3d 26, 32 (1st

Cir. 2007).   A court must grant a motion for judgment on the

record “where the plaintiff fails to make out a prima facie

case, or despite a prima facie case, the court determines that

the preponderance of evidence goes against the plaintiff’s

claim.”   In re Stewart, No. MB 12-017, 2012 WL 5189048, at *7

(B.A.P. 1st Cir. Oct. 18 2012) (quoting In re Giza, 458 B.R. 16,

24 (Bankr. D. Mass. 2011)) (internal quotation marks omitted);

see also Morales Feliciano v. Rullán, 378 F.3d 42, 59 (1st Cir.

2004) (“When a party has finished presenting evidence and that

evidence is deemed by the trier insufficient to sustain the

party’s position, the court need not waste time, but, rather,

may call a halt to the proceedings and enter judgment

accordingly.”).   Unlike a motion for summary judgment, a court

reviewing a motion for judgment on the record is not obligated

to indulge all inferences in favor of the nonmoving party.         See

Stewart, 2012 WL 5189048, at *7.

     B.     Institutional Reform Litigation

     As a general matter, institutional reform litigation is a

creature poorly suited for the courts, as the role of the

     38
       A motion for judgment on the record is synonymous with
one for judgment as a matter of law made during the course of a
bench trial, which receives treatment equivalent to a motion for
judgment on partial findings under Rule 52(c). See Federal Ins.
Co. v. HPSC, Inc., 480 F.3d 26, 32 (1st Cir. 2007).

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workaday trial judge in such litigation is often rather

precarious at best and downright ineffectual at worst.39        Not

insignificantly, an award of the injunctive and declaratory

relief sought by the Plaintiffs here would encroach upon terrain

that is rightfully the province of the legislature, see Horne v.

Flores, 557 U.S. 433, 448 (2009) (“[I]nstitutional reform

injunctions often raise sensitive federalism concerns.         Such

litigation commonly involves areas of core state responsibility




     39
       The late Judge Robert Keeton, a consummate jurist and
erstwhile colleague, entertained a similar challenge to the
Massachusetts foster care system more than three decades ago,
which ultimately resulted in the ordering of a wide array of
institutional reforms. See Lynch v. King, 550 F. Supp. 325 (D.
Mass. 1982) (Keeton, J.). Yet the fact that the Plaintiffs have
revived many of the same claims in this instant action proves
the limited utility that judicial orders have in effecting
large-scale, structural change. Indeed, in the lead-in to his
opinion, Judge Keeton presciently penned:

     [H]owever sufficient the plaintiffs’ proof and the
     court’s jurisdiction may appear, the stark reality is
     that judicial power to give effect to rights created
     by Congress is meager.    No doubt a primary factor in
     the failure of protection of victimized children has
     been limited resources. And yet, ironically, the only
     relief the court can award is an order compelling
     state officials to give up some of those resources --
     funds   appropriated   by   Congress  --   if  federal
     requirements are not met.    Thus, it may be that the
     only remedy the court can provide is a remedy that we
     shall later know to have been worse than none, and yet
     a remedy the court must grant when sought by persons
     legitimately entitled to demand it.

Id. at 327.



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. . . .”),40 and would commit this Court to the near-perpetual

oversight of an already-complex child-welfare regime, cf.

Abraham Chayes, The Role of the Judge in Public Law Litigation,

89 Harv. L. Rev. 1281, 1284 (1976) (noting that in institutional

reform litigation “the trial judge has increasingly become the

creator and manager of complex forms of ongoing relief, which

have widespread effects on persons not before the court and

require the judge’s continuing involvement in administration and

implementation”).   What is more, the redistribution of scarce

governmental resources would no doubt produce certain negative

externalities, not the least of which include the deprivation of

other state agencies of the means needed to perform their

functions fully.    Horne, 557 U.S. at 448 (“When a federal court

orders that money be appropriated for one program, the effect is

often to take funds away from other important programs.”).

     The Court’s primary role, however, is to adjudicate the

claims before it, such external considerations notwithstanding.


     40
        See also John Choon Yoo, Who Measures the Chancellor’s
Foot? The Inherent Remedial Authority of the Federal Courts, 84
Calif. L. Rev. 1121, 1123-24 (1996) (“[T]he Constitution does
not permit the federal courts to exercise their remedial powers
to engage in the structural reform of local institutions and
local government. If the remedies needed to correct a
constitutional violation lie outside a court’s traditional
remedial powers, then separation of powers principles require
that the answer come from the political branches, which are far
better equipped to manage the structural reform of state and
local institutions.”). The Court cites this article to note
this restrictive point of view, not to endorse it.

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See Watson v. City of Memphis, 373 U.S. 526, 537 (1963) (“[I]t

is obvious that vindication of conceded constitutional rights

cannot be made dependent upon any theory that it is less

expensive to deny than to afford them.”).       The Court thus turns

to the deprivation of constitutional rights claimed here.

     C.   Substantive Due Process

     To prevail on a claim of deprivation of substantive due

process under the Due Process Clause of the Fourteenth

Amendment, “a plaintiff must . . . show a deprivation of life,

liberty, or property.”    Connor B., 771 F. Supp. 2d at 159-60

(citing DeShaney v. Winnebago Cnty. Dep’t of Soc. Servs., 489

U.S. 189, 196 (1989)).    The Supreme Court has on numerous

occasions held that the Due Process Clause “generally confer[s]

no affirmative right to governmental aid, even where such aid

may be necessary to secure life, liberty, or property interests

of which the government itself may not deprive the individual.”

DeShaney, 489 U.S. at 196; see also Lyng v. Int’l Union, United

Auto., Aerospace & Agric. Implement Workers of Am., UAW, 485

U.S. 360, 369 (1988); Harris v. McRae, 448 U.S. 297, 317-18

(1980); Lindsey v. Normet, 405 U.S. 56, 74 (1972).        “[I]n

situations where a state creates a ‘special relationship’

because of the limitation which [the state] has imposed on [an

individual’s] freedom to act on his own behalf,” however, “its

subsequent failure to protect an individual may amount to a


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substantive due process violation.”      J.R. v. Gloria, 593 F.3d

73, 79 (1st Cir. 2010) (second and third alterations in

original) (quoting Rivera v. Rhode Island, 402 F.3d 27, 34 (1st

Cir. 2005)) (internal quotation marks omitted).        Numerous courts

of appeals have held that a special relationship exists between

state foster care agencies and the children held in their

charge, see, e.g., Norfleet ex rel. Norfleet v. Ark. Dep’t of

Human Servs., 989 F.2d 289, 291–93 (8th Cir. 1993); Yvonne L. ex

rel. Lewis v. N.M. Dep’t of Human Servs., 959 F.2d 883, 892-94

(10th Cir. 1992); K.H. ex rel. Murphy v. Morgan, 914 F.2d 846,

851-52 (7th Cir. 1990); Taylor ex rel. Walker v. Ledbetter, 818

F.2d 791, 795 (11th Cir. 1987), and the First Circuit has

assumed as much arguendo, J.R., 593 F.3d at 80.

     The Supreme Court has confirmed, and the Defendants

themselves acknowledge, that individuals consigned to the

state’s care have a constitutionally guaranteed right to “basic

human needs [such as] food, clothing, shelter, medical care, and

reasonable safety.”   DeShaney, 489 U.S. at 200; see also Defs.’

Mem. 6.   Nevertheless, the Defendants challenge the premise

advanced by the Plaintiffs that foster children enjoy any of the

additional rights claimed in the complaint, Defs.’ Mem. 6 & n.9

-- namely, those to (1) “a living environment that protects

foster children’s physical, mental and emotional safety and

well-being”; (2) “services necessary to prevent foster children


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from deteriorating or being harmed physically, psychologically,

or otherwise while in government custody”; (3) “treatment and

care consistent with the purpose of the assumption of custody by

DCF”; (4) “be maintained in custody [no] longer than is

necessary”; (5) “receive care, treatment and services determined

and provided through the exercise of accepted professional

judgment”; and (6) “be placed in the least restrictive placement

according to a foster child’s needs,” Compl. ¶ 303(b)-(g).

      This Court adheres to the reasoning first advanced in this

case by Judge Ponsor at the motion-to-dismiss stage, that the

Supreme Court’s decision in Youngberg v. Romeo, 457 U.S. 307

(1982), contemplates the first three putative rights as

protected by the Constitution and that, by logical extension

(particularly when viewed in light of the institutional failings

discussed in Part II of this opinion), the last three items

manifest the right to “reasonable care and safety,” and thus are

protections to which the Plaintiffs are equally entitled.         See

Connor B., 771 F. Supp. 2d at 161; cf. Youngberg, 457 U.S. at

324 (noting that, in addition to providing basic necessities,

“the State is under a duty to provide [the involuntarily

committed] with . . . conditions of reasonable care and safety,

reasonably nonrestrictive confinement conditions, and such

training as may be required by these interests”).




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     Merely establishing that foster children may demand from

the state the expansive rights that inhere in personhood,

however, is insufficient to demonstrate a violation of due

process.   The conduct of the state with respect to individuals

in its care must additionally shock the conscience of the Court.

See Rivera, 402 F.3d at 35; see also Martínez v. Cui, 608 F.3d

54, 64 (1st Cir. 2010) (“[T]he shocks-the-conscience test . . .

governs all substantive due process claims based on executive,

as opposed to legislative, action.”) (citations omitted).         There

appears to be little consensus on the proper standard one ought

apply in the deployment of the shocks-the-conscience test.

Indeed, at least three different interpretations of the test

have emerged out of the fray.     The first standard, announced by

the Supreme Court in Estelle v. Gamble, 429 U.S. 97 (1976),

requires a showing of “deliberate indifference” on the part of

state officials to the needs of those for whom they are

responsible.   Id. at 104-05.    Six years later, in Youngberg v.

Romeo, 457 U.S. at 307, the Supreme Court held that decisions

made by a professional regarding those who have been

involuntarily committed to state custody are to be regarded

“presumptively valid” and that “liability may be imposed only

when the decision by the professional is such a substantial

departure from accepted professional judgment, practice, or

standards as to demonstrate that the person responsible actually


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did not base the decision on such a judgment.”       Id. at 323.

Most recently, in County of Sacramento v. Lewis, 523 U.S. 833

(1998), the Supreme Court ruled that “in a due process challenge

to executive action, the threshold question is whether the

behavior of the governmental officer is so egregious, so

outrageous, that it may fairly be said to shock the contemporary

conscience.”   Id. at 847 n.8.

     On the motions to dismiss, Judge Ponsor reviewed the merits

of all three of the aforementioned tests but ultimately declined

to adopt any of them, at least not in their independent forms.41

See Connor B., 771 F. Supp. 2d at 162-63.       Instead, he devised a

new, two-pronged approach that he deemed more suitable in the

foster care context: “[T]o establish a substantive due process

claim, Plaintiffs must show that Defendants’ conduct represented

a substantial departure from accepted professional judgment,

which deprived them of conditions of reasonable care and safety,

and that such conduct shocks the conscience.”       Id. at 163.

Because no First Circuit authority explicitly prescribes the




     41
       Judge Ponsor noted that “Youngberg and Lewis are not
mutually exclusive,” Connor B., 771 F. Supp. 2d at 162, and
regarded Estelle as inapposite because that case pertained only
to incarcerated prisoners, whose more limited rights are
justified given that the “conditions of [their] confinement are
designed to punish,” id. (quoting Youngberg, 457 U.S. at 321-22)
(internal quotation marks omitted).



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engagement of any particular standard,42 and because inquiries

into substantive due process are inherently context-dependent,

cf. Lewis, 523 U.S. at 850 (“Rules of due process are not,

however, subject to mechanical application in unfamiliar

territory. . . . [O]ur concern with preserving the

constitutional proportions of substantive due process demands an

exact analysis of circumstances before any abuse of power is

condemned as conscience shocking.”), this Court treats Judge

Ponsor’s construction of the shocks-the-conscience test as law

of the case and turns now to applying it.

     After reviewing the extensive record set before this Court,

it is apparent that the Defendants, in their administration of

state-run foster care services, did not substantially depart

from widely accepted professional judgment.       True, the laundry

list of problems plaguing DCF is well documented: whether the

relevant metric is performance in minimizing maltreatment in

care, facilitating appropriate placements and ensuring placement

stability, achieving permanency in placement outcomes, providing

educational and medical services, administering caseload

management and training, or guaranteeing accountability, DCF has


     42
       Technically, the First Circuit did apply the deliberate
indifference standard in the foster care context in J.R. v.
Gloria, 593 F.3d at 80-81. Judge Ponsor, however, convincingly
articulated various reasons why that case is sufficiently
distinguishable from the one at bar. See Connor B., 771 F.
Supp. 2d at 162 n.5.

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failed not only to comport with national standards of care and

state and federal requirements but also to comply with its own

internal policies.

      Yet “substantial departure,” as articulated in the case

law, requires more than mere deviance from professional norms;

contrary to intuition, courts have construed this standard to

require the most wanton abandonment of caretaking

responsibilities.    See Yvonne L., 959 F.2d at 894 (“As applied

to a foster care setting we doubt there is much difference in

the [deliberate-indifference and substantial-departure]

standards.   ‘Failure to exercise professional judgment’ does not

mean mere negligence as we understand Youngberg; while it does

not require actual knowledge the children will be harmed, it

implies abdication of the duty to act professionally in making

the placements.”); Connor B., 771 F. Supp. 2d at 162 n.4 (“It is

far from obvious . . . that the professional judgment standard

creates an appreciably lower hurdle for plaintiffs [than the

deliberate indifference standard].”).

     With this is mind, it is not clear that the Defendants’

behavior has sunk to a level warranting injunctive relief.         For

example, when it comes to the rate of maltreatment in foster

care, it is true that the Commonwealth lays claim to myriad

dubious distinctions.    See, e.g., Child Maltreatment 2010, at 57

tbl.3-20; Child Maltreatment 2011, at 55 tbl.3-15 (reporting


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that Massachusetts is consistently in the bottom quartile of all

states in its performance on the metric of absence of

maltreatment in foster care).     These data do not reveal the

entire picture, however.    In 2008 -- the year in which

Massachusetts garnered its lowest percentage absence of

maltreatment, 98.93% -- the Commonwealth missed the 99.68%

national standard by just three-quarters of a percent, and in

recent years, the Commonwealth has been within half of a

percentage point of the benchmark.      See Child Maltreatment 2010,

at 57 tbl.3-20; Child Maltreatment 2011, at 55 tbl.3-15.         What

is more, since at least 2006, less than 50% of all reporting

states have made the cut, and most of Massachusetts’s higher-

ranked peers beat out the Commonwealth by mere fractions of a

percent.   See Child Maltreatment 2010, at 57 tbl.3-20; Child

Maltreatment 2011, at 55 tbl.3-15.      Such slight differences in

position, in conjunction with the fact that the majority of

states fail to meet the national standard, do not sufficiently

serve to indict the Massachusetts foster care system.        Moreover,

although DCF was not able to prevent maltreatment from

occurring, it acted reasonably when such events took place by

removing the foster child from the harmful environment.         See,

e.g., CRC Study tbl.18 (noting that roughly 5% of the children

in the entry cohort sample population experienced substantiated

instances of abuse or neglect and that approximately 91.6% of


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such children were removed); id. tbl.45 (noting that roughly

4.1% of the children in the two-year cohort sample population

experienced substantiated instances of abuse or neglect and that

80% of said children were removed).

     These considerations must be taken into account in the

course of determining whether the Commonwealth’s subpar

performance violates substantive due process, but the Defendants

ought not view this opinion as encouragement to take excessive

pride in the Department’s performance relative to the national

standard or other state foster care systems.       The Court is

particularly troubled by the way DCF manipulates and presents

relative performance data in its internally distributed CFSR

scorecards.    See, e.g., CFSR Scorecards, Tab September 30, 2012;

see also Trial Tr. vol. 14, 77:21-80:11 (clarifying the

Department’s method of determining grades); discussion supra

Part II.I (discussing the CFSR scorecards in the context of

DCF’s accountability systems).     In the most recent iteration of

the scorecards submitted in evidence, CFSR Scorecards, Tab

September 30, 2012, the grading system employed is misleading,

to say the least.   The scorecards use letter grades to evaluate

DCF’s performance on various metrics, presumably because letter

grades are recognizable and easily understood signifiers of

performance.   But a system that awards an A+ letter grade to a

level of performance falling just short of the national median,


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see, e.g., CFSR Scorecards, Tab December 31, 2011, at

DCF011158648 (awarding, on the measure “C1.2: Median Time to

Reunification,” an A+ for the state’s performance relative to

the median), does not line up with any conventional

understanding of the letter grading system or what an A+

typically signifies.   While it is understandable that the

Department strives to present performance data in a way that is

not unduly discouraging and that makes it easy to identify areas

in the most need of improvement, see Trial Tr. vol. 14, 74:7-19,

76:23-77:12, the current scorecards accomplish these goals at

the expense of clarity and honesty.      The potential for such a

grading system to breed complacency in the Department is not a

constitutional violation, nor does it shock the conscience, but

it very poorly serves the foster children under the

Commonwealth’s care.

     In truth, financial and administrative constraints –- not

the alleged mismanagement by DCF officials -- pose the greatest

threat to children in the Massachusetts foster care system

today.   In the face of budget cuts for the 2011 fiscal year, DCF

reduced the number of its regional offices, and reduced the

number of management teams for the existing 29 area offices.

See McClain Dep. 146:1-23.    This has led to a scarcity of

available foster care placements, compare Gambon Oct. Dep.

94:12-95:12 (indicating that DCF’s general goal is to maintain a


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pool of around 4000 unrestricted homes for foster care

placements), with DCF Quarterly Reports, 2008-2012, Tab Q3 2012,

at 62 fig.28 (showing that since 1998, the pool of unrestricted

homes has consistently fallen short of 4000), staffing deficits,

see, e.g., Gambon Oct. Dep. 50:9-51:7, limited training, see,

e.g., DCF FY2012 Progress Report DCF007413695, and delay in

achieving longstanding objectives, see, e.g., 15 Families

Initiative Presentation DCF010275220-21, DCF010275224.

     Notwithstanding these challenges, certain areas have been

improving.   For example, DCF records show that although caseload

ratios continue to exceed 18:1, steady progress has been made

over the past five years, even after the reduction in regional

offices from six to four.    Compare Caseloads Reports, Tab June

2008, at 57 (reporting that as of June 30, 2008, 1034 social

workers across six regional offices and a special investigations

unit had weighted workloads of over eighteen cases), with id.

Tab August 2012, at 11 (reporting that as of August 31, 2012,

390 social workers across four regional offices had weighted

workloads of over eighteen cases).

      Upon this mixed record, this Court respectfully declines

to substitute its judgment for that of duly elected

Massachusetts lawmakers, who properly are endowed with the power

to direct the reserves of the Commonwealth’s coffers to whatever

issue of public import that they see fit.       Alas, the Plaintiffs


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must face the sobering reality that in this particular instance,

the pen is not quite as mighty as the purse.

     The “shocks the conscience” prong of the test proves

equally unavailing to the Plaintiffs; even if this Court were to

have concluded that DCF practice did indeed substantially depart

from professional judgment, there is little in the present

record that could be said to have shocked the impressionable

conscience of the Court.    “The burden to show state conduct that

‘shocks the conscience’ is extremely high, requiring ‘stunning’

evidence of ‘arbitrariness and caprice’ that extends beyond

‘[m]ere violations of state law, even violations resulting from

bad faith’ to ‘something more egregious and more extreme.’”

J.R., 593 F.3d at 80 (alteration in original) (quoting DePoutot

v. Raffaelly, 424 F.3d 112, 119 (1st Cir. 2005)).        While the

actions (or inaction) of some resident bad actors reflects

poorly on DCF, clear institutional failings at the Department

have not yet been proven.    Cf., e.g., id. at 80-81 (holding that

two social workers’ failure to perform background checks on men

living in a foster home who allegedly sexually abused the

plaintiffs, while perhaps a violation of state law, “d[id] not

amount to inherently egregious conduct,” id. at 81); K.H., 914

F.2d at 853 (concluding that “a general practice of shuttling

children among foster parents” was not enough to assign




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liability for a violation of substantive due process, id.

(emphasis omitted)).

     To be sure, DCF’s management of foster care has been less

than stellar, and some of the circumstances in which children in

DCF’s custody have been placed give the Court considerable

pause.    Of particular note are the harrowing accounts of the

Named Plaintiffs and others in this case.       But the Plaintiffs

have not succeeded in showing that the deprivations complained

of were felt class-wide.    See, e.g., Trial Tr. vol. 2, 115:13-15

(revealing that Dr. Bellonci had reviewed only three case files

in consideration of his expert report); Trial Tr. vol. 7, 84:23-

85:1 (revealing that Dr. Azzi-Lessing had reviewed only five

case files before drafting her expert report).       DCF may have

failed the Named Plaintiffs, but without more, their accounts do

not support a ruling that DCF’s system-wide practices shock the

conscience.

     D.     Familial Association

     The Supreme Court has held that the First Amendment’s right

to association, the Ninth Amendment’s reservation of

unenumerated rights to the people, and the Fourteenth

Amendment’s rights to due process and equal protection imply a

concomitant right to familial association.       See, e.g., Roberts

v. U.S. Jaycees, 468 U.S. 609, 618-20 (1984) (First Amendment);

Stanley v. Illinois, 405 U.S. 645, 651 (1972) (Ninth and


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Fourteenth Amendments).      Nevertheless, “[w]hile the Supreme

Court has recognized an abstract fundamental liberty interest in

‘family integrity,’ the Court has never found that interest to

be absolute or unqualified.”       Watterson v. Page, 987 F.2d 1, 8

(1st Cir. 1993) (citing Frazier v. Bailey, 957 F.2d 920, 929-30

(1st Cir. 1992)).     A precise elaboration of the contours of this

right in the foster case context has eluded many judges and led

to a confused jurisprudence among the federal district circuits.

Connor B., 771 F. Supp. 2d at 164 (collecting cases).          That

said, the leading inquiry centers on whether the children are

provided “any meaningful contact with family members.”           Id.

(citing Kenny A. ex rel. Winn v. Perdue, 218 F.R.D. 277, 296

(N.D. Ga. 2003)).

      The Defendants maintain that the Plaintiffs have failed to

prove that “the actions of DCF’s leadership are directly aimed at

their [familial] relationships, with knowledge that the conduct

will adversely affect those relationships.”        Defs.’ Mem. 10.       To

support this proposition, the Defendants favorably cite Cortes-

Quinones v. Jimenez-Nettleship, 842 F.2d 556, 563 (1st Cir.

1988), and D.G. v. Yarbrough, No. 08–CV–074-GKF-FHM, 2011 WL

6009628, at *16 (N.D. Okla. Dec. 1, 2011).        See Defs.’ Mem. 10-

11.   Neither of these two cases is particularly apposite,

however, because their underlying rationales stem from actions

that ultimately sought damages.      See Cortes-Quinones, 842 F.2d at


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563-64; D.G., 2011 WL 6009628, at *16 (relying for its foundation

on Griffin v. Strong, 983 F.2d 1544, 1548-49 (10th Cir. 1993), in

which the plaintiffs sought damages, including punitive damages,

id. at 1545).     Courts have wider latitude to impose a remedy when

asked to enter only injunctive relief.      See K.H., 914 F.2d at 854

(surmising that “there might . . . be broader liability in an

injunctive suit against [state] officials”).

     Still, one must view the Plaintiffs’ familial association

claim through the lens of substantive due process, as the former

is derived in whole or in part from the latter.        See Gonzalez v.

City of Anaheim, 715 F.3d 766, 772 (9th Cir. 2013) (treating an

action for familial association as a substantive due process

claim requiring proof of conscience-shocking behavior); P.J. ex

rel. Jensen v. Wagner, 603 F.3d 1182, 1198 (10th Cir. 2010)

(exercising the court’s authority to resolve “claims regarding

[the] substantive due process right to familial association”).

To be sure, Massachusetts’s performance with respect to familial

visitation and placement is far from excellent.        See, e.g., CRC

Study tbl.16 (observing that just 20.9% and 37.6% of children in

the entry cohort received monthly visits from siblings and

parents, respectively, for the entirety of the thirty-month

review period).    Compare First-Round CFSR Final Assessment CSF-

000000331-34 (finding Massachusetts’s efforts in kinship

placements and familial connections to be in substantial


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conformity with federal law during the first-round CFSR), with

Second-Round CFSR Final Report CSF-000000780-91 (finding

performance on said measures to be out of step with federal

mandates).    Yet in light of this Court’s earlier discussion of

substantive due process, see supra Part III.C, one must take into

account the extenuating circumstances (i.e. budgetary

constraints) that bear on DCF’s capacity to deliver high-quality

care in order to determine whether the children in foster care

were deprived of meaningful opportunities to see their family

members.   Here the Plaintiffs fail to prove there is such class-

wide institutional deprivation.

     E.      Procedural Due Process

     In evaluating claims for violations of procedural due

process, courts are instructed to engage in a two-step analysis

that requires a determination of (1) “whether there exists a

liberty or property interest which has been interfered with by

the State,” and if so, (2) “whether the procedures attendant

upon that deprivation were constitutionally sufficient.”

González-Fuentes v. Molina, 607 F.3d 864, 886 (1st Cir. 2010)

(quoting Kentucky Dep’t of Corrections v. Thompson, 490 U.S.

454, 460 (1989)) (internal quotation marks omitted).

     The Plaintiffs, in their complaint, claim entitlements

under state law to the following four putative rights:




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     a. The rights in relation to “placement of children in
     private   families;  early  and   periodic  screening,
     diagnostic and treatment standards; individualized
     health care plan” . . .;

     b. The right to a “medical passport” . . .;

     c. The rights to sibling visitation . . .; and

     d. The right to be considered for placement with
     relatives, other adult persons who have played
     significant positive roles in the child’s life, and
     any minor siblings or half-siblings . . . .

Compl. ¶ 309(a)-(d) (internal citations omitted); see also Pls.’

Opp’n 17.   The Defendants deny that the Plaintiffs can enjoy

such rights.    Defs.’ Mem. 13.   For the reasons stated with

respect to the Plaintiffs’ other putative rights, see supra Part

III.C, this Court endorses the Plaintiffs’ view.

     Notwithstanding the acknowledgement of constitutionally

protected interests, the Plaintiffs have failed to establish

that the Defendants acted in a constitutionally deficient

manner.   It may be unclear whether notice of suspended services

is always provided, see, e.g., Peel Dep. 84:24-85:22, but one

cannot prove the negative from an empty inference.        Furthermore,

once again, limited resources appear to be the properly

attributable culprit, as former Commissioner McClain noted in

his deposition that budget cuts contributed to overwhelming

backlogs in the scheduling of fair hearings.       See McClain Dep.

146:7-148:14.   Finally, the data drawn from the CRC study on

foster care reviews and permanency plan hearings, CRC Study


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tbls.20a & 47a, are not especially helpful because there is no

comparative data available to the Court to contextualize CRC’s

findings.   Accordingly, the Plaintiffs have not demonstrated

that a constitutional deprivation deserving redress exists.

     F.     Statutory Claims under the AACWA

            1.   Foster Care Maintenance Payments

     The Plaintiffs seek relief for DCF’s failure to distribute

foster care maintenance payments at USDA-recommended levels as

prescribed by law.   See Compl. ¶ 307; see also 42 U.S.C. §

672(a)(1); Mass. Gen. Laws ch. 119, § 23(h).       Since March 2012,

however, DCF’s foster care maintenance rates have been

commensurate with those set by the USDA.      See McClain Dep.

150:18-151:3.    The Plaintiffs contend that this fact alone does

not effectively moot their claim.      For support, the Plaintiffs

point to the Department’s long history of providing insufficient

foster care maintenance payments.      See Pls.’ Opp’n 15-16; see

also Sept. 28 McClain Letter DCF000827080 (reporting that, for

some number of years, DCF rates ranged between 17% and 24% below

the USDA rates).

     Generally speaking, in order to remain eligible to receive

federal funds under the AACWA, a state must comply strictly with

conditions attached to the receipt of those funds.        California

Alliance of Child & Family Servs. v. Allenby, 589 F.3d 1017,

1022 (9th Cir. 2009).    Substantial compliance with said


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conditions, however, is acceptable in certain instances

prescribed by federal regulation.        Id. at 1022-23 (citing, e.g.,

45 C.F.R. §§ 1355.39, 1356.71(c)(5)).

      DCF’s past performance with respect to foster care

maintenance payments failed strictly (or even substantially) to

comply with the AACWA.      See id. at 1021 (holding that the

payment of 80% of foster care costs “runs afoul of the [AACWA’s]

mandate”).    The problem here, however, is that the Plaintiffs

seek only prospective injunctive relief.        The Court acknowledges

the cash flow challenges facing foster parents and recognizes

that foster care recompense payments, while providing money

downstream, does little for the children who are in need of that

money now.    The fact remains, however, that as of March 2012,

foster care maintenance rates satisfy USDA requirements.           See

McClain Dep. 150:18-151:9.

      Notwithstanding the prospective relief sought, the

Plaintiffs claim that the Department’s recent fix is inadequate,

given its less-than-assured commitment to sustain foster

maintenance rates at USDA levels going forward.          See Pls.’ Opp’n

16; Trial Tr. vol. 15, 110:20-111:5; Trial Tr. vol. 12, 23:15-

17.   Once again, however, the Plaintiffs fall victim to blaming

the wrong party for their plight.        Although DCF is statutorily

obligated to set the rates for foster care maintenance payments

at levels prescribed by the USDA, see Mass. Gen. Laws ch. 119, §


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23(h), the Massachusetts legislature is ultimately responsible

for appropriating the funds needed to ensure that DCF is able to

reach these goals, Trial Tr. vol. 15, 107:17-108:3.        The

serendipitous nature of DCF’s receipt of $12,000,000 from the

state government to raise its foster care maintenance rates in

line with those set forth by the USDA is of no moment in this

case.    It is not for this Court to speculatively cast aspersions

on the present or future intentions of state bureaucrats.

        This holding ought not be read to give the Defendants a

free pass to make an end run around the requirements set forth

in the AACWA, however.       Should foster care maintenance rates

fall substantially below USDA guidelines in the coming months or

years, the Plaintiffs are free to resume the pursuit of what

will be deemed by this Court to be a revived and actionable

claim.    See, e.g., Conservation Law Found. v. Patrick, 767 F.

Supp. 2d 260, 261 (D. Mass. 2011).

             2. Case Plans

        The Plaintiffs argue that the Defendants are neither fully

nor substantially in compliance with the case-planning

requirements established by the AACWA.      Pls.’ Opp’n 16.

        The results from the CRC study suggest that case plans are

generally not well maintained and, in some cases, are entirely

unavailable for review.      See CRC Study tbls.28a & 55a (reporting

that 14.6% of children in the entry cohort and 35.1% of children


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in the two-year cohort were missing case plans in their case

files); id. tbl.29 (reporting, with respect to the entry cohort,

that 65.8% of the case plans contained child service data and

that 73.9% of the case plans contained family service data); id.

tbl.56 (reporting, with respect to the two-year cohort, that

31.8% of the case plans contained child service data and that

10.7% of the case plans contained family service data).         Without

more, however, mere gaps in record keeping hardly constitute

grave statutory error, cf. Bailey v. Pacheco, 108 F. Supp. 2d

1214, 1223 (D.N.M. 2000) (observing, inter alia, that “[s]loppy

record keeping skills” did not cause social worker to relinquish

the trappings of presumptively valid professional judgments),

particularly when viewed in the context of the financial and

administrative hardships that have been discussed above, see

supra Part III.C.   Accordingly, the Plaintiffs’ AACWA claims

founded upon DCF’s lackluster maintenance of case plans cannot

survive.




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IV.   CONCLUSION

      For the foregoing reasons, on September 30, 2013, this

Court GRANTED the Defendants’ motion for judgment on the record,

ECF No. 316.

      This is a dispiriting opinion to write.        In alleging

violations of substantive due process, the Plaintiffs set

themselves to climb a virtually unscalable peak.          They have

failed in the ascent.      Nothing is really resolved.      The state

defendants today avoid the litigation bullet but the stage is

set for further costly litigation as all attempts at settlement

have failed.

      In the process, the Court may have done a disservice to the

hundreds of overworked, underpaid, and underappreciated case

workers and foster home providers whose dedication has never

been questioned here.      There is, of course, a certain aridity in

marshalling the statistics necessary to sustain or refute the

class-wide institutional claims made in this case.

      Yet this is not a case about statistics but about children

-- our children -- and this much is clear, the flaws noted

herein are more about budgetary shortfalls than management

myopia.   We are all complicit in this financial failure.

      When next you bemoan your tax burden, remember that, at

that moment, somewhere in Massachusetts there is a youngster who




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has just been taken from her parents’ home.43      She is confused,

inexpressibly lonely, homesick, and desperately afraid.         Because

of Massachusetts’ penury, her future is murkier than in most

places in America.

     Do you care?



                                            /s/ William G. Young

                                            WILLIAM G. YOUNG
                                            DISTRICT JUDGE




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       There is no suggestion in this record that Massachusetts
overreacts in taking children into foster care.

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